Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 1 of 114




 EXHIBIT A
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 2 of 114




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS

JOSEPH OZMUN,                  §
    Plaintiff                  §
                               §
V.                             § CASE NUMBER 1:16-cv-00940-SS
                               §
PORTFOLIO RECOVERY ASSOCIATES, §
LLC; RAUSCH, STURM, ISRAEL,    §
ENERSON & HORNIK, LLC; WESTERN §
SURETY COMPANY AND TRAVELERS §
CASUALTY AND SURETY COMPANY    §
OF AMERICA                     §
      Defendants               §


                DECLARATION OF MANUEL H. NEWBURGER


I, the undersigned Manuel H. Newburger, make this declaration under penalty
of perjury and state the following:

My name is Manuel H. Newburger. I am over eighteen years of age, of sound
mind, and fully competent to make this affidavit. I am the lead defense counsel
for Defendant Rausch, Sturm, Israel, Enerson & Hornik, LLC (“RSIEH”) and Vice
President of Barron & Newburger, P.C., and in those capacities I have personal
knowledge of the matters set forth in this affidavit. This affidavit is offered in
support of Defendants’ Motion for an Award of Fees and Costs and in support of
the sanctions requested in that motion.

Qualifications to Provide this Affidavit

I am a 1980 graduate of Trinity University in San Antonio, Texas, with a B.A. in
history, and a 1983 graduate of the University of the Texas School of Law. I have
been licensed to practice law in the State of Texas since November 4, 1983 and in
the State of Colorado since October 26, 2009. I have been certified as a specialist
in Consumer and Commercial Law by the Texas Board of Legal Specialization,
and I am one of fewer than 100 attorneys who hold that certification. I am also
a Fellow of the American College of Consumer Financial Services Lawyers, and I
have been repeatedly recognized as a Texas Super Lawyer.

I am in good standing to practice law in the States of Texas and Colorado. My
federal court admissions include the United States Supreme Court, the United
States Courts of Appeals for the Second, Third, Fourth, Fifth, Seventh, Eighth,
Ninth, and D.C. Circuits, all four United States District Courts for the State of
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 3 of 114




Texas, and the United States District Courts for the District of Colorado, the
District of Columbia, the District of Connecticut, the Northern and Central
Districts of Illinois, the Northern and Southern Districts of Indiana, the District
of Maryland, the Eastern and Western Districts of Michigan, the District of
Nebraska, the Western District of Oklahoma, the Western District of Tennessee
and the Eastern and Western Districts of Wisconsin.

I am the Vice-President of Barron & Newburger, P.C., an Austin, Texas-based
law firm with offices in multiple states. I have worked for that firm and its
predecessors and affiliates continuously since prior to the time I was licensed in
its evolution from Barbara M. Barron & Associates to its present form. In
addition to my law firm employment I am also an adjunct professor at the
University of Texas School of Law, where I have taught consumer protection law
(including the Fair Debt Collection Practices Act and the Texas Debt Collection
Act) since 1999.

I have practiced consumer and commercial law in Texas since 1983, and my
practice focuses on consumer financial services law. I am a past Chairman of
the Consumer Law Section of the State Bar of Texas, and I have served as
Chairman of both the Texas Board of Legal Specialization’s Advisory Commission
and its Exam Commission on board certification in consumer and commercial
law. I have served as Chair and Chair Emeritus to the Fair Debt Collection
Practices Act Committee of the Commercial Law League of America. I was
appointed to and served the Texas Supreme Court’s Home Equity Foreclosure
Rules Task Force, and I subsequently served on other such committees, working
on revising the Texas Rules of Civil Procedure governing such foreclosures.

I am a frequent speaker at continuing legal education programs around the
United States. I have been a speaker and article author at seminars on fair debt
collection practices sponsored by the State Bar of Texas, Texas Tech Law School,
University of Houston Law Foundation, South Texas College of Law, Oklahoma
City University School of Law, University of Mississippi School of Law, the State
Bar of Arizona, the State Bar of Georgia, the State Bar of Hawaii, the State Bar
of Kansas, the State Bar of Missouri, the Suffolk County (New York) Bar
Association, the Ohio Creditors Attorneys Association, The Tennessee Bar,
various regions of the Commercial Law League of America, the National Creditors
Bar, the U.S. Foreclosure Network, The National Association of Credit
Management, The Conference on Consumer Finance Law, PLI, and the North
American Collection Agency Regulatory Association, and I have been quoted on
fair debt and consumer law issues in the National Law Journal, Lawyer’s Weekly
USA, The Texas Lawyer, the New York Times, and the Wall Street Journal.

I was the principal author of M. Newburger and B. Barron, Fair Debt Collection
Practices: Federal and State Law and Regulation (Sheshunoff & Pratt 2002)., M.
Newburger and B. Barron, The Guide to Fair Debt Collection Practices Law in the
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 4 of 114




United States (Faulkner & Gray, Inc. 2000), and the two earlier editions of that
book. I was also a contributing author and member of the Manual Committee for
the Texas Collection Manual – Third Edition, published by the State Bar of Texas,
and a contributing author to Manual of Credit and Commercial Laws, 93rd
Edition, (National Association of Credit Management 2002), and The Practice of
Consumer Law (National Consumer Law Center).

In addition to my seminar articles I was the author of the following published
articles:

      “Unreasonable Debt Collection Practices.” Caveat Vendor, Volume 15, No.
      2, pp. 25 - 27, 1990.

      “Recent Developments Under the Fair Debt Collection Practices Act.”
      Commercial Law Bulletin, Volume 8, No. 1, pp. 12 - 19, 1993.

      “Acceleration Notices and Demand Letters,” Consumer Finance Law
      Quarterly Report, Vol. 47, No. 4, pp. 338-351, 1993.

      “Better Defense Through Giving Up: Some Thoughts on Defending Fair
      Debt Cases.” Commercial Law Bulletin, Vol. 10, No. 6, pp. 21 - 33.

      “FDCPA Case Law Review,” Consumer Finance Law Quarterly Report, Vol.
      51, No. 2, pp. 158-169, 1997.

      “When Worlds Collide: Fair Debt Collection Practices Act vs. State Law.”
      Journal of Texas Consumer Law, Volume 2, No. 4, pp. 122 - 125, 1999.

      “Fair Debt Case Update III,” Consumer Finance Law Quarterly Report,
      Vol. 53, No. 3, pp. 173-180, 1999.

      “Pre-Judgment Collection of Legal Fees: A Right Without a Remedy?”
      Consumer Finance Law Quarterly Report, Vol. 59, No. 4, pp. 350-356,
      2005.

      M. Newburger, “Lucy, Charlie Brown, and the FDCPA.” Debt3, Volume
      22, No. 1, pp. 8 -13, 2007.

      R. Canter and M. Newburger, “Common Law Immunity for Litigation
      Activities Under the Fair Debt Collection Practices Act.” Consumer
      Finance Law Quarterly Report, Vol. 61, No. 1, pp. 29-39, 2007.

      M. Newburger, “Legal Ethics Issues for Collection Attorneys – Part One.”
      Debt3, Volume 23, No. 2, pp. 8 -14, 2008.
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 5 of 114




      M. Newburger, “Legal Ethics Issues for Collection Attorneys – Part Two.”
      Debt3, Volume 23, No. 3, pp. 8 -13, 2008.

      B. Sinsley and M. Newburger, “Lucy, Her Football, and the TCPA” Debt3,
      Volume 23, No. 5, pp. 22 -25, 2008.

To the extent that I have any specialized legal knowledge it is in the areas of
creditor and consumer rights. My practice, throughout the time that I have been
licensed, has consisted primarily of debtor-creditor suits and consumer
protection suits involving disputes over goods and services, lender liability
claims, collection abuse, the TCPA. and/or credit reporting issues. I have a
“boutique” practice in consumer financial services law, and I defend and consult
on the defense of such cases across the United States. I testified before a United
States Congressional Subcommittee at the last oversight hearings on the Fair
Debt Collection Practices Act, and I have served as amicus curiae counsel in
multiple high-profile consumer law cases, including last year’s Midland Funding,
LLC v. Johnson, ___ U.S. ___, 137 S. Ct. 1407, 197 L. Ed. 2d 790 (2017). I
represented the Commercial Law League of America as amicus curiae in Heintz
v. Jenkins, 514 U.S. 291 (1995), Koons Buick Pontiac GMC, Inc. v. Nigh, 543 U.S.
50 (2004), Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573
(2010), White v. Goodman, 200 F.3d 1016 (7th Cir. 2000), and Riviere v. Banner
Chevrolet, Inc., 184 F.3d 457 (5th Cir. 1999). I represented the Debt Buyers
Association (now known as DBA International) as amicus curiae in Case No. 00-
50513, Shawn Johnson, Individually and on behalf of all others similarly situated
vs. Capital One Bank and NCO Financial Systems, Inc., an FDCPA case before the
United States Court of Appeals for the Fifth Circuit that was settled before a
decision was issued.

My practice is almost exclusively related to consumer protection law and legal
issues involving the credit and collection industry, and I mainly represent debt
buyers, collection law firms, collection agencies, and creditors in defending and
settling consumer litigation and regulatory actions and in compliance matters,
from collector training to operational consulting. I have done such training and
consulting across the United States and in Canada, India, and the Philippines.

In the context of FDCPA litigation I have, over the years, served as counsel for
numerous consumer plaintiffs, as class counsel for multiple consumer classes,
as defense counsel in individual and class actions across the United States, as
an expert for consumer plaintiffs, as an expert for defendants, as an expert on
fees, and as a mediator if individual and class actions under the FDCPA or
TDCA. I have testified as an expert regarding the reasonableness and necessity
of fees in hundreds of Texas state court cases.
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 6 of 114




Facts and Opinions Regarding the Conduct of Plaintiff’s Counsel

a. Early Settlement Efforts

Defendant RSIEH retained me as its attorney in this matter prior to the date of
its answer. When PRA’s corporate counsel reached a tentative agreement to
settle with Celetha Chatman, I drafted the settlement documents. At the time, I
thought that $6,500 was an outrageously large amount to settle this case, but it
was not my job to hinder resolution.

I prepared the settlement documents using the standard settlement template
that I use in almost every non-class case. It is the same basic template that I
used when I was a plaintiffs’ lawyer. As is evident from ECF Documents 13, 21,
22, and 25, all of which are incorporated herein by reference, the settlement
failed because, according to Ms. Chatman’s email of August 31, 2016 (ECF Doc.
22-2, p. 2), Plaintiff Ozmun would not sign a global release, and Defendants were
unwilling to settle unless they were fully released.

At no time in the course of Defendants’ efforts to bring that settlement to fruition
did Ms. Chatman ever state to me that Mr. Ozmun had other claims that he
wished to pursue against either of the Defendants. Plaintiff’s full deposition in
this case has been filed as ECF Doc. 101-2, and it is incorporated herein by
reference. In that deposition, almost three months after the August 31, 2016
email from Ms. Chatman, Mr. Ozmun testified that he did not know about the
failed the settlement until just days before his deposition and that he was not
even aware that it was being negotiated. See Ozmun Dep. at 150:11 - 153:4. At
no time in the course of this case has Plaintiff withdrawn or amended this
deposition testimony.

During the Ozmun deposition I attempted to understand why Ozmun and
Chatman might have refused a global release:

                              142
            15    Q. But you don't have any other claims
            16   against Rausch, Sturm, right?
            17       A. Outside of this suit, no, sir.
            18       Q. All right. Have you told me about every
            19   claim you have against PRA?
            20       A. Yes, sir. It's all here in the suit.
            21       Q. You don't have any claims against PRA
            22   except what's in this suit?
            23       A. No, sir.
            24       Q. No, you do not?
            25       A. I do not.
                              143
             1      Q. All right. Are there any other suits
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 7 of 114




              2   you're planning to file against Rausch, Sturm or
              3   PRA?
              4       A. I don't know that. I'd have to check
              5   with my attorney.
              6       Q. This is everything you know of, right?
              7       A. In the suit, yes, sir.
              8       Q. And you don't have any other complaints
              9   about anything either of them has ever done to you
             10    except what we've been talking about thus far today
             11    in this deposition, right?
             12        A. I think this is most of it, yes, sir.
             13        Q. Was it all of it?
             14        A. At this time, yes, sir. There could be
             15    more later.
             16        Q. Well, this is my chance to depose you.
             17    Do you mean if they do something in the future,
             18    there could be more --
             19        A. Right.
             20        Q. -- or do you mean there could be other
             21    things you haven't bothered saying yet?
             22        A. There's nothing I'm thinking of now that
             23    may be actionable later.

             Ozmun Dep. at 142:15 - 143:23.

At no time in the course of this case has Plaintiff withdrawn or amended this
deposition testimony. Nevertheless, Plaintiff later amended his Complaint in this
case to assert claims against RSIEH and Travelers under the Texas Debt
Collection Act, and in 2017 he filed Cases 17-665 and 17-665, both of which
pertained to causes of action that allegedly existed at the time of Ozmun’s
deposition.

Based upon my experience and qualifications set forth above it is my opinion
that an attorney’s failure to convey offers and to involve her client in settlement
discussions is a serious ethical lapse that harms the client, the opposing party,
and the court. Here, Ms. Chatman refused to agree to a general release, yet she
also failed to disclose the existence of any other claims that might have enabled
the settlement to be salvaged. When, almost three months later, Ozmun testified
that he had no other claims, the refusal to consummate the settlement became
even more inexplicable.

As has been addressed in the briefing in this case, courts have repeatedly held
that a plaintiff in an FDCPA case is entitled to a single recovery of statutory
damages, regardless of the number of defendants or alleged violations. At the
time of the failed settlement Plaintiff’s sole claims in this case were for statutory
damages under the FDCPA and TDCA. See ECF Doc. 1. He asserted no claims
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 8 of 114




for actual damages or injunctive relief, and the state of the law was clear at the
time this suit was filed that in the absence of actual damages or injunctive relief
no statutory damages are recoverable under the FDCPA.

It is my opinion that the $6,500 demand to settle this case, pre-answer, had no
basis in fact or law in light of the Complaint, Plaintiff’s deposition testimony, and
the amount of work that could reasonably have been expended at that point.
Defendants initially agreed to that number only because they could split it for
far less than the cost of defense. However, based upon my experience and
qualifications set forth above it is my opinion that the amount of the demand,
coupled with the refusal to agree to a general release and the failure to involve
Ozmun in the negotiations, evidenced the use of this litigation for improper
purposes; specifically, to extort far more money from defendants than the extent
of their liability at that stage. It is my opinion that any one of those factors,
standing alone, is sufficient to demonstrate the use of this litigation for an
improper purpose.

It is further my opinion, based upon my experience and qualifications set forth
above, that the $6,500 demand and the refusal by Ms. Chatman to consummate
the settlement that she negotiated vexatiously multiplied these proceedings. But
for that conduct all of the fees and expenses in this case, from Defendant’s
answer to the present, would have been avoided, and all of such time and
expenses were a direct, proximate result of Ms. Chatman’s conduct in causing
the settlement to fail. It is further my opinion that the failure of Michael Wood
to supervise Ms. Chatman and ensure that such conduct was prevented
vexatiously multiplied these proceedings and was a direct, proximate cause of
all of the fees and expenses in this case, from Defendant’s answer to the present.

b. The Original Complaint

The original Complaint in this case named Travelers Casualty and Surety
Company of America as a defendant, based upon its Texas third-party debt
collector bond for RSIEH. It is my opinion, based upon my experience and
qualifications set forth above, that there is no basis in fact or law for the joinder
of the issuer of a Texas third-party debt collector bond in a suit that asserts no
actual damages and no relief against the bond principal under the TDCA. The
assertion of such groundless claims necessitated the filing of the first summary
judgment motion for RSIEH in this case and the fees and expenses incurred in
connection therewith.

c. The Amended Complaint

Notwithstanding Ozmun’s deposition testimony that he had no other claims, and
despite my clients’ opposition, Plaintiff filed an Amended Complaint (ECF Doc.
53) in which he added a claim against RSIEH and Travelers under the TDCA.
The Amended Complaint also failed to seek actual damages or injunctive relief.
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 9 of 114




It is my opinion, based upon my experience and qualifications set forth above,
that there is no basis in fact or law for the assertion of claims under the TDCA
and on a third-party debt collector bond in a case in which neither actual
damages nor injunctive relief are requested. Given the well-established case law
on that point it is my opinion that the Amended Complaint’s addition of TDCA
claims against RSIEH and Travelers was groundless, in bad faith, and served no
purpose other than that of harassment.

c. Plaintiff’s Disclosures

Discovery in this case closed on March 30, 2018. ECF Doc. 80. On May 11,
2018, I was served with Plaintiff's Second Amended Rule 26(a)(1) Disclosures.
Exhibit A to this Affidavit consists of a true copy of each of the three sets of Rule
26 disclosures served on me by Ozmun’s counsel in this case. In none of those
disclosures did Plaintiff or his attorneys disclose any computation of damages as
to RSIEH.

Based upon the experience and qualifications set forth above it is my opinion
that the prosecution of a suit against a defendant from which a plaintiff seeks
no relief has no basis in fact or law and that the filing and prosecution of such a
suit is solely for the purpose of harassment. It is further my opinion that the
prosecution of a suit against a defendant from which a plaintiff seeks no relief
constitutes the use of the suit for an improper purpose. This is addressed below.

In the event that Ozmun actually was seeking ant sums of money from RSIEH,
then it is my opinion that his attorneys executed and served the Disclosures in
bad faith. In three sets of disclosures spanning the life of this case they did not
ever disclose that Ozmun sought damages from RSIEH. Part of the decision to
try this case was the absence of any damages claims against RSIEH; thus, in my
opinion, if Ozmun actually claimed damages from RSIEH the conduct of his
attorneys in serving the three sets of disclosures vexatiously multiplied this
litigation.

Apart from the complete failure to disclose a damages calculation as to RSIEH,
on May 11, 2018, Plaintiff served om Defendants his designation of trial
witnesses and exhibits, a true copy of which is Exhibit B to this affidavit. The
designation was actually due by November 1, 2017. ECF Doc. 80.              In that
untimely designation Ozmun designated Robbie Malone and me as trial
witnesses. Based upon the experience and qualifications set forth above it is my
opinion that there was no basis in fact or law for such designations. Neither Ms.
Malone nor I are witnesses to any fact that would be relevant to Plaintiff’s claims
or Defendant’s defenses. It is my opinion that Ms. Malone and I were designated
in retaliation for having designated Wood and Chatman as witnesses,
notwithstanding the apparently undisputed fact that the “dispute” letters at
issue in this case were authored and sent by Wood’s law firm and sent directly
to PRA at a time when Wood and Chatman were on notice that RSIEH
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 10 of 114




represented PRA. My opinion that the designation was retaliatory is further
supported by the email from Michael Wood dated July 1, 2018, a true copy of
which is Exhibit C to this Affidavit. In that email Mr. Wood stated:

      Now that we have all filed our witness lists, I see that Manny and Robbie
      have removed Celetha and I from their list, along with the conspiracy topic.
      This means it is no longer necessary to have Robbie and Manny on our
      witness list.

      I think we might want to amend it because it will now be out of context
      and the judge will be confused by our listing opposing counsel on our
      witness list. What do you all think the best way to do that is? We could file
      a “corrected” witness list, or file a motion, or leave it to deal with at pretrial.

      I do want to leave our motion in limine barring the conspiracy topic in
      place to prevent it from being brought up at the last minute.

      Let me know what you all think!

Wood and Chatman were designated as fact witnesses because of their
participation in the manufacture of this litigation. The elimination of them from
the final trial witness list was based upon the conclusion that their testimony
would be cumulative of what could be presented without them. However, it is
my opinion that the inclusion of Ms. Malone and me as witnesses was part of
the pattern of bad faith and harassment by Ozmun and his attorneys in this
case.

d. Improper Use of Proceedings

Plaintiff has repeatedly made demands in this case that, in my opinion, had no
basis in fact or law. After the failure of the initial $6,500 settlement Chatman
made a subsequent demand of $7,800 to settle, still conditioned upon an
incomplete, non-global release. Exhibit D to this affidavit is a true copy of that
demand and the accompanying proposed release. In light of Ozmun’s lack of
actual damages claims and the $1,000 limit on his FDCPA statutory damages
claims, is my opinion that the $6,500 and $7,800 demands had no basis in fact
or law and that they were designed to polarize the parties and force Defendants
either to pay more than the case was worth or else face continued defense costs
and allow Plaintiff’s alleged claim for fees to increase. (This is addressed further
in my testimony below regarding the abusive utilization of a fee-shifting
provision.)

As the trial date in this case neared and the court granted summary judgment
to Defendants on Ozmun’s state law claims, RSIEH’s insurance carrier became
reluctant to pay for a two-day trial (and the final preparation therefor) in a case
in which the maximum recovery to the Plaintiff was $1,000, assuming that the
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 11 of 114




Court even allowed Plaintiff to avoid an immediate directed verdict in light of the
failure to make Rule 26(a) disclosures as to any damage recovery against RSIEH.
I was therefore authorized to offer on June 28, 2018, to settle this case for “the
total sum of $1,000.00, with the award of fees and costs of the parties to be
determined by the Court.” A true copy of that offer is Exhibit E to this affidavit.

On July 1, 2018, Ozmun simply rejected that offer. A true copy of the rejection
is Exhibit F to this motion.

On July 3, while I was engaged in a conversation with the Adjuster for this case,
I received ECF Doc. 138, the Court’s denial of Ozmun’s Motion to Stay. With the
permission of the adjuster I immediately contacted Ozmun’s counsel and
renewed the offer to settle for the total sum of $1,000.00, with the award of fees
and costs of the parties to be determined by the Court. On July 6, 2018, via an
email a true copy of which is Exhibit G to this affidavit, Ozmun again rejected
that offer, instead making the following counteroffer:

      (1) .PRA will not collect or report on Mr. Ozmun's three consumer debts;
      (2) .Defendants will pay Mr. Ozmun $3225.00 for his remaining claims;
      and
      (3) .Parties to file motions to the court for fees and costs
      (4) .Mr. Ozmun will dismiss his claims (after attorney fees and costs are
      determined by court) against both defendants;

At the time of that offer two of the three debts had been reduced to final
judgments on which the time for appeal had expired. Also, at the time of that
offer, Plaintiff’s Second Amended Rule 26(a)(1) Disclosures disclosed only the
following damages claims:

      Plaintiff is entitled to $1,000 in statutory damages per subject account
      under the FDCPA from Defendant Portfolio Recovery Associates, LLC
      pursuant to 15 U.S.C. § 1692k(a)(2), statutory damages of not less than
      $100 under the Texas Finance Code from Defendant, and reasonable
      attorneys’ fees, and costs.

Plaintiff’s state law claims had already been dismissed pursuant to the Court’s
summary judgment order. Thus, the counteroffer demanded more in damages
than Plaintiff had even asserted in his disclosures. The counteroffer also
demanded elimination of Plaintiff’s three debts, thereby raising the value of the
demand by approximately more than double the cash component.

No provision of the FDCPA authorizes use of the statute as part of a debt
elimination scheme. Based upon me experience and qualifications set forth
above it is my opinion that a demand for more money than was set forth in
Plaintiff’s disclosures plus debt forgiveness was bad faith conduct that further
vexatiously multiplied these proceedings. As a result of that bad-faith demand
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 12 of 114




Defendants filed their Motion to Deposit Funds into the Registry of the Court,
ECF Doc. 140.

It was only after the filing of that motion, when faced with a tender that would
have mooted his case that Plaintiff made his offer of July 9. 2018. In that offer,
Plaintiff agreed that he would accept “$1,250.00 to dismiss these FDCPA claims
against both defendants.” A true copy of that offer is Exhibit H to this affidavit.

That offer was made on Monday, July 9, 2018, at 8:59 p.m. Shortly after noon,
the following day, Defendants had delivered to the office of Plaintiff’s counsel a
cashier’s check in the amount of $1,250.00, together with a motion and order
for dismissal. A true copy of packet that was delivered to Plaintiff’s counsel is
Exhibit I to this motion.

Notwithstanding the tender of a cashier’s check in the exact amount requested,
Plaintiff’s counsel then refused to dismiss this case as promised. Defendants
demanded dismissal, but Plaintiff’s attorneys resisted, claiming that a briefing
schedule on fees was needed. Although I had pointed out to Plaintiff’s counsel
Amy Clark in phone conversations that Local Rule CV-7 expressly provided for
the timing of fees motions, Plaintiff and his attorneys were not satisfied with the
local rule. On July 18, 2018, I received an email from attorney Ruth Kollman.
That email, a copy of which is Exhibit J to this motion, stated:

            What do you think about responding to Manny’s email that
            we are holding the funds in trust and will sign a joint motion
            to dismiss after the conclusion of the attorney fee
            proceedings, with the understanding that those results may
            necessitate revision? Also, we do not believe the local rules re
            briefing schedule apply here. Maybe ask Robbie to explain to
            him?

The refusal of Plaintiff’s counsel to submit a motion to dismiss in
accordance with the settlement terms forced Defendants to file a Motion
to Dismiss Plaintiff’s Claims with Prejudice (ECF 144). That motion was
granted on August 9, 2018 (ECF Doc. 149).

Based upon my experience and qualifications set forth above it is my
opinion that the conduct of Plaintiff’s counsel in refusing to agree to
dismiss, in forcing Defendants to file a motion to dismiss, and in
opposing that motion vexatiously multiplied these proceedings. The offer
to dismiss in exchange for $1,250 was clear and unequivocal. The reason
Defendants had a cashier’s check delivered to Ms. Clark’s office so
quickly was that they did not trust Plaintiff to honor or not withdraw that
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 13 of 114




offer, and Defendants wanted to perform in full before that could happen.
Notwithstanding the delivery of the cashier’s check less than sixteen
hours after the $1,250 offer was made, Plaintiff and his attorneys refused
to honor the offer by dismissing as promised. It is my opinion, based
upon my experience and qualifications set forth above, that there was no
basis in law or fact for refusing to dismiss and for opposing the motion to
dismiss. By their vexatious actions Plaintiff and his attorneys forced
Defendants to file both the motion to dismiss and the reply brief in
support thereof.

Based upon my experience and qualifications set forth above it is also my opinion
that this litigation was, to a large extent, manufactured by Attorneys Wood and
Chatman in bad faith. Two of the claims relate to PRA’s alleged failure to report
as disputed debts that were the subject of litigation handled by RSIEH. Plaintiff
has admitted in this case that the fax number from which the “disputes” were
sent is controlled by Wood and Chatman. See ECF Doc. 101-6, p. 6, responses
to Requests for Admission 7 and 8. To date, neither has denied having actual or
constructive knowledge that RSIEH represented PRA in connection with two of
Plaintiff’s debts at the time that disputes of those debts were faxed directly to
PRA from Wood and Chatman.

My opinion that the litigation was manufactured is further based upon the fact
that: *1) at the time of the “dispute” letters there were deemed admissions in the
state court proceedings pertaining to those debts that ran contrary to any
dispute; (2) Ozmun never sought to set aside those admissions; and (3) Ozmun
did not even respond to PRA’s motions for summary judgment in the state court
actions. See ECF Doc. 101-3, 101-8. and 101-9. The “disputes” are, in my
opinion, fabrications by Wood and Chatman designed to create the very type of
lawsuits that they have filed under 15 U.S.C. § 1692e(8). Furthermore, the
“dispute” letters, which referenced the debt, Ozmun’s refusal to pay, and his
alleged inability to pay, were sent by Wood and Chatman directly to PRA,
notwithstanding the Representation of PRA by RSIEH. It is my opinion that no
legitimate purpose existed for that direct communication with a represented
party and that the sending of the letters directly to PRA, in a form which created
the false impression that they originated from Ozmun, further shows the bad
faith, deception, and intent to harass of Wood and Chatman.

e. Failure to Comply with Orders and Rules

Throughout the Ozmun and his attorneys demonstrated a disregard for the
orders of this Court and the applicable rules. This began with the original
scheduling conference.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 14 of 114




As is shown in Exhibit K, Chatman waited until the day after the proposed
discovery plan was due to contact either of Defendants’ attorneys about
submitting the plan. Ms. Malone and I attempted without success to conduct
the call that day, but Ms. Chatman refused. When the call occurred the following
day Oi attempted to get Ms. Chatman to discuss the topics set forth in Rule
26(f)(2) including, in particular, “the nature and basis of [Ozmun’s] claims”. I
pointed out that every appellate court to rule on the issue had held that an
FDCPA plaintiff is limited to $1,000 per action, regardless of the number of
plaintiffs or alleged violations, and I asked her to explain why this case was worth
more than that. The only response that she would give was “that’s my position.”
I also asked her to explain why Travelers was a defendant. The only response
that she would give was that it was in the Complaint.

The original Complaint in this case asserted no TDCA claim against RSIEH and
no claim for actual damages. Thus, there was no basis for the claim against
Travelers. It is my opinion, based upon the experience and qualifications set
forth above, that Chatman acted in bad faith and in willful disregard of the
Court’s order of September 7 and Rule 26(f) by failing to meet the deadline set
forth in the order and by failing to confer in good faith regarding the matters set
forth in Rule 26(f).

On October 25, 2016, the Court signed the original scheduling order in this case,
ECF Doc. 28. That order required Plaintiff to serve on all parties by February
17, 2017, a disclosure of his designation of potential witnesses, testifying
experts, and proposed exhibits. No such designation was served. The
noncompliance with the original Scheduling Order was brought to the attention
of both the Court and Respondents multiple times, the last of which was at the
status conference in this case on June 6, 2017, which was attended by Attorney
Wood telephonically. Even after that, Plaintiff and his attorneys made no
attempt to correct their violations of the original scheduling order. When the
Amended Scheduling Order was issued Plaintiff and his attorneys ignored it as
thoroughly as they did the original Scheduling Order.

The repeated violations of scheduling orders have already been punished by the
Court in its sanctions order of February 15, 2018 (ECF Doc. 91). However, even
then, Plaintiff and his attorneys ignored the deadlines set by the Court. Although
they continued to prosecute this case against RSIEH, at no point n time did
Ozmun or his attorneys ever serve disclosures on Defendants that set forth any
computation of damages as to RSIEH.

Similarly, Ozmun and his attorneys failed to produce to Defendants the default
motion that they allege was actually received by Ozmun.1 They did not designate
or identify any witness who could sponsor and authenticate the consumer

1The only copy that they have produced appears t be one downloaded from the
Travis County Court at Law web site.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 15 of 114




reports at issue in this case. They did not designate or identify any witness who
could attest to the content and filings in the Travis county Courts at Law, nor
did they produce certified copies of such records. Nevertheless, they have
continued to prosecute this case.

Based on the experience and qualifications set forth above it is my opinion that
the failures to designate essential witnesses and produce essential documents
and the repeated disregard of scheduling orders demonstrate that Plaintiff and
his attorneys have been using this litigation as a piece of economic blackmail,
both forcing Defendants to continue to incur defense costs and holding over their
heads the threat of a fee-shifting claim, without the intent or ability to try the
case. In my opinion as a consumer law professor and former plaintiffs’ attorney,
no competent attorney, experienced in FDCPA matters, would have failed to
depose the consumer reporting agency whose reports are at issue in this case,
had that attorney seriously intended to try the case. In my opinion as a
consumer law professor and former plaintiffs’ attorney, no competent attorney,
experienced in FDCPA matters, would have failed to disclose a calculation of
damages as to a defendant against whom that attorney seriously intended to try
the case. Such lapses by Ozmun and his attorneys demonstrate bad faith in the
filing and prosecution of this suit. In my opinion, based upon the experience
and qualifications set forth above, Plaintiff, Chatman, and Wood manufactured
this case to try to leverage debt forgiveness and thousands of dollars in payments
from Defendants, betting on the willingness of Defendants to pay more than the
case was worth just to stop the pain of the defense costs.

f. The Conduct of Ruth Kollman

The first time that I heard from Attorney Ruth Kollman regarding this case was
the morning of May 11, 2018. This case was set for hearing on all pending
matters at 2:00 p.m. on that date. See ECF Doc. 99. However, at 10:05 that
morning I received an email from Ruth Kollman stating: “Plaintiff and Plaintiff’s
counsel are filing a motion to recuse Judge Sparks in the referenced matter. I
assume you oppose unless you email me otherwise.” A true copy of that email
is Exhibit L to this declaration. I knew who Ms. Kollman was as a result of an
unsuccessful motion to recuse that she had filed in the Tejero case that is before
this Court. I responded at 10:21 a.m. stating:

      Unless you are admitted to practice in this district I do not intend to
      discuss this matter with you except to say that, in light of the denial of
      recusal in Tejero, should you file such a motion you can expect that I will
      seek an order compelling you to pay the fees and expenses caused by such
      a motion.

      If you have been admitted please let me know, and I will be glad to
      elaborate on my position.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 16 of 114




Ms. Kollman did not respond. Instead, at 11:01 that day, just under three hours
from the scheduled start of the hearing, I received a Motion to Recuse that was
signed by Ruth Kollman (notwithstanding her lack of admission in the district
and her failure to seek admission pro hac vice in this case), and Michael Wood.
That motion was filed without any meaningful effort to meet and confer and (in
my opinion) without basis in law or fact. The timing of that motion was
calculated to cause Defendants to incur the cost of preparing for and attending
court that day, and it did, in fact, have that effect. By waiting until the morning
of the hearing even to raise the issue of recusal vexatiously multiplied these
proceedings by forcing me to prepare for and go to court that day.

As is evidenced by Exhibit J, Ms. Kollman has continued to involve herself in
this case, notwithstanding her failure to seek admission pro hac vice. As an
attorney with a multi-jurisdictional practice I find myself shocked at Kollman’s
unlawful and unethical behavior in filing a motion in a court in which she is not
admitted. Her conduct resulted in the loss of time reflected in my time records
for May 11, 2018, on preparing for and attending a hearing that could not go
forward due to the meritless motion to recuse.

Kollman’s involvement in the failure of Plaintiff to dismiss this case also helped
cause my client to incur the fees in preparing the Motion to Dismiss (ECF Doc.
144) and Reply Brief in support of that motion (ECF Doc. 146). It should not
have been necessary to file that motion, and the refusal of Plaintiff and his
attorneys to honor the terms of the offer to dismiss in exchange for $1,250 forced
Defendants to file the Motion to Dismiss. The refusal to dismiss further
multiplied these proceedings vexatiously, and Ms. Kollman was a participant in
that refusal.

Testimony regarding Time and Expenses

All of my time records are entered and maintained electronically. Until
November, 2017, this was done in a program called Lexis Practice Advantage,
also known as Time Matters. Since November, 2017, my firm has converted to
a program called Centerbase. Exhibit M contains data from the original time
entries in those programs, and it reflects the records of my billable time and
expenses that were entered into and maintained in those programs.

My firm keeps contemporaneous time records of the time incurred by attorneys.
In the case of my own time, I enter into our timekeeping system the time and
expenses incurred each day. Thus, the entries are made at or near the time of
the events that they describe, by a person with knowledge of the matters
contained therein. These time records were made and kept in the ordinary
course of business and as part of the regularly conducted business activity of
Barron & Newburger, P.C.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 17 of 114




The accompanying Exhibit M reflects time and expenses incurred in this case
from the beginning of this case through the filing of Defendants’ Motion for an
Award of Fees and Expenses. However, Exhibit M does not reflect all of my time
in this case. For example, my email folder for this case has over 1,600 emails
that were sent or received in this case. I have billed for fewer than 40 of those
emails.

Based upon Exhibit M the reasonable and necessary time and expenses incurred
in this case by my client are:

      Fees:               $117,701.00
      Expenses:           $ 1,665.99
      TOTAL:              $119,366.99

However, the Court ordered Plaintiff and his attorneys to pay $9,187.92 in
sanctions in this case. That payment was split equally by Defendants, resulting
in a credit od $4,593.96. Therefore, the total amount of reasonable fees and
expenses incurred by RSIEH in this case is $114,773.03.

In support of the reasonableness and necessity of the above-stated fees I offer
the following additional testimony regarding the factors prescribed by Johnson
v. Ga. Highway Express, Inc., 488 F.2d 714 (5th Cir. 1974) and Hensley v.
Eckerhart, 461 U.S. 424 (1983):

A. The Time and Labor Required

With regard to the time and labor required, all of the time that I have incurred as
reflected on the accompanying Exhibit M was necessary and reasonable. Multiple
aspects of this case were firsts for me. I do not believe that I have ever had to seek
sanctions against attorneys for failing to comply with a scheduling order of a
federal court. In this case, plaintiff and his counsel violated two scheduling orders.
If fact, they failed to correct their violations of the first scheduling order, and
although I had pointed out those violations on three separate occasions they then
violated the second scheduling order in a similar manner.

I have never before had a plaintiff’s attorneys agree to dismiss in exchange for
payment of a sum certain and then refuse to dismiss after being paid that sum. In
this case, Plaintiff and his lawyers forced me to file a motion to dismiss seeking to
enforce the agreement that they had made.

I have never before had a federal court case reach the week before trial with
multiple sets of Rule 26(a)(1) disclosures, , each of which failed to disclose any
damage claim whatsoever against my client. This forced me to have to consult to
and advise my client regarding the possible consequences of such a failure.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 18 of 114




I have not previously had an adversary refuse to tell me in a Rule 26(f) conference
what the basis was of her damages and simply say “that is my position” as Ms.
Chatman did.

The time and expenses2 reflected in Exhibit M were reasonable and necessary in
this case. Plaintiff and his attorneys made the time necessary. The time was
reasonable, as most of the motions and briefing had to be done from scratch
without the benefit of a prior, similar motions to use as a starting point. All of the
work from the answer, forward, could have been avoided had Ozmun and Chatman
not refused to agree to a general release of my client.

It is my opinion that the fees and expenses set forth in the accompanying Exhibit
M are reasonable and necessary in this case and that the hourly rates billed to
this case are not only reasonable but less than that which is usual and customary
for an attorney with my experience and expertise.

B. The Novelty and Difficulty of the Questions

The issues involved in this case were novel to the extent that I have not in many
years had attorneys insist that they could recover more than $1,000 in statutory
damages in an individual FDCPA case, I have not in many years had a plaintiff and
his lawyers engage in claim-splitting, I have rarely had to seek contempt sanctions
against other attorneys, I have rarely had to force an adversary to honor an
agreement to dismiss a case, and I do not believe that I have ever had adversaries
demonstrate a pattern of manufacturing litigation by contacting represented
parties. See ECF Doc. 101 and the exhibits thereto.

I cannot say that these issues were extremely difficult, but they were unusual, in
that I do not typically encounter attorneys with a pattern of violating court orders,
ignoring the federal rules, breaking their word, contacting represented parties, and
practicing in a court where they are not licensed. Each of these behaviors by
Plaintiff and /or his attorneys necessitated additional time and effort on my part.

C. The Skill Required to Perform the Legal Services Properly

Litigation of this type is technical and tends to require knowledge of, and
experience with multiple areas of consumer protection law. I have been certified
as specialist in Consumer and Commercial Law by the Texas Board of Legal
Specialization. I have substantial experience with defending consumer financial

2 I would note that there was an expense of $267 for an airline change fee that
was not awarded in the previous sanctions order. That expense was incurred
as I was already booked to fly to Chicago to depose one of Ms. Chatman’s
clients in two other cases in the Northern District of Illinois. When the Court
set the hearing on January 23, 2018, I had to change my flight to allow me to
attend the hearing.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 19 of 114




services litigation in multiple jurisdictions across the United States. I have
defended or been involved in the defense of such cases in Texas, Colorado,
Arkansas, California, Connecticut, the District of Columbia, Florida, Georgia,
Hawaii, Illinois, Indiana, Iowa, Kentucky, Massachusetts, Michigan, Minnesota,
Missouri, Montana, Nebraska, Nevada, New Jersey, New Mexico, New York, North
Carolina, Ohio, Oklahoma, Pennsylvania, South Carolina, Tennessee, Virginia,
Washington, West Virginia, and Wisconsin. I have spent my entire legal career
developing substantial expertise in consumer protection law.

My adversaries, Michael Wood and Celetha Chatman, appear to have a business
enterprise based upon the making of unreasonable demands, followed by a pattern
of forcing defendants to incur substantial fees if they do not capitulate. In this
case, Ms. Chatman demanded $6,500 at the pre-answer stage to settle a case
involving no actual damages and statutory damages that are capped by statute at
$1,000. They have been getting away with such conduct in at least two separate
federal districts, and it seems to necessitate substantial skill to stop them, since
to date, no one has been able to do so.

A search of PACER in the last two days generated a search result stating that
‘Celetha Chatman is an attorney in 636 cases’ in the Northern District of Illinois.
A similar PACER search for the Western District of Texas resulted in the response
that ‘Celetha Chatman is an attorney in 20 cases. This is somewhat astounding
when one considers that the Illinois Attorney Registration & Disciplinary
Commission web site states that Celetha Chatman was admitted as a lawyer on
November 5, 2015. Since Mr. Wood and Ms. Chatman have been getting away
with this sort of behavior in hundreds of cases it is my opinion that substantial
skill and experience has been necessary to shine an appropriate light on the
manner in which they are practicing law.

D.    The Preclusion of Other Employment Due to Acceptance of this Case

It is fundamental that an attorney can only handle so many cases at one time.
While the number of cases that any individual lawyer can handle depends upon
both the attorney and the nature of his or her caseload, the fact remains that
each case taken limits other cases that can be accepted. Mine is a relatively
small firm, and when an attorney reaches the maximum number of cases he can
handle there are limited options to have another attorney in the firm take the
next case presented to us.

E. The Customary Fee

My standard hourly rate is $450.00 per hour for legal work and $500 per hour for
expert witness work. My hourly rate is consistent with rates charged by attorneys
with experience and qualifications comparable to mine and who have multi-
jurisdictional practices similar to mine. In fact, I am familiar with rates charged
by attorneys with similar practices in firms such as Maguire Woods, Reed Smith,
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 20 of 114




and Greenberg Traurig, and my hourly rate is substantially below what those
attorneys charge. My standard rates are at least $150 or more lower than the rates
of attorneys with comparable practices, and as much as $300 per hour below those
of attorneys with comparable practices. I tend to serve a client base that frequently
cannot afford those rates, and I have set my rates in a range that is within the
means of my clients.

The time and fees sought in this case are well within the range of what is customary
for a case of this type. It is my opinion that the hours reflected in my time records
are reasonable for the work done to date.

F. The Amounts Involved and the Results Obtained

My client’s goal in this case was not to allow Ozmun and his attorneys to extort a
substantially greater amount than the law permits. Ozmun walked away from a
$1,250 settlement, he tried to leverage a settlement of over $10,000 in cash and
debt forgiveness, but he was ultimately forced to agree to dismiss his claims in
exchange for $1,250. That is less than the sum of $1,000 plus the costs of filing
and service, and it is an excellent result, both in terms of outcomes in FDCPA cases
and in terms of what Ozmun, specifically, tried to extract from Defendants.

The sanctions awarded in this case against Wood, Chatman, and Ozmun were also
an excellent result. I know from personal experience that Wood and Chatman have,
in multiple cases, been getting away with ignoring the Rules, contacting
represented parties, and forcing defendants to choose between substantial defense
costs or payment of unreasonable demands. To the extent that the sanctions
imposed by the Court in ECF Doc. 91 help to prevent such behaviors I have also
achieved excellent results.

G. The Time Limitations Imposed by the Client or by the Circumstances

This was not a significant factor.

H. The Nature and Length of the Professional Relationship with the Client

Rausch Sturm is an old client that I have represented for many years. The rate
that I am seeking is the rate that they pay. I have not increased my rate for them
in over three years.

I. The Experience, Reputation, or Ability of the Attorney

This information is set forth above.
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 21 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 22 of 114




  EXHIBIT A
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 23 of 114




                            UNITED STATES DISTRICT COURT
                                 Western District of Texas
                                     Austin Division

JOSEPH OZMUN,                   §
                                §
           PLAINTIFF,           §
                                §                    CASE NUMBER: 1:16-cv-00940-SS
           v.                   §
                                §                    Hon. Sam Sparks
PORTFOLIO RECOVERY              §
ASSOCIATES, LLC; RAUSCH, STURM, §
ISRAEL, ENERSON & HORNIK, LLC;  §
WESTERN SURETY COMPANY; and     §
TRAVELERS CASUALTY AND          §
SURETY COMPANY OF AMERICA       §
                                §
            DEFENDANTS.         §

            PLAINTIFF’S SECOND AMENDED RULE 26(A)(1) DISCLOSURES

       NOW COMES Plaintiff, Joseph Ozmun, by and through his attorneys, and for his Rule

26(a)(1) disclosures, states as follows:

       1.      The following individuals may have discoverable information:

               a.      Plaintiff Joseph Ozmun, c/o Celetha Chatman, Community Lawyers
                       Group, Ltd., 73 W. Monroe Street, Ste. 514, Chicago, Illinois 60603.

                       Mr. Ozmun has knowledge regarding the allegations of his Complaint, his
                       communications with Defendant, and his claimed damages.

               b.      Celetha Chatman, Community Lawyers Group, Ltd., Community Lawyers
                       Group, Ltd., 73 W. Monroe Street, Ste. 514, Chicago, Illinois 60603.

                       Ms. Chatman will have information discoverable on the issues of the
                       amount and reasonableness of the attorney fees and costs incurred in this
                       suit.

               c.      Nyetta Jackson, on behalf of Portfolio Recovery Associates.

                       As Vice President of Operations, Jackson has knowledge of the debt
                       collection activities undertaken in the underlying case, the process and
                       procedures for drafting and sending communications, circumstances
                       surrounding the underlying alleged debt, communications with Plaintiff
                       and third parties related to the alleged debt, Defendant's policies and
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 24 of 114




            procedures for compliance with the FDCPA, and Defendant's affirmative
            defenses

      d.    Manual H. Newburger
            Barron & Newburger, PC
            7320 N. MoPac Expy., Suite 400
            Austin, TX 78731

            Mr. Newburger, as counsel for Defendants PRA and Rausch, has
            repeatedly accused Plaintiff and his counsel of violating the rules of
            professional responsibility by contacting PRA directly with information
            regarding his dispute of the accuracy of PRA’s credit reporting. This
            despite Rausch’s instructions in writing that Plaintiff contact PRA directly
            regarding the accounts, and despite PRA listing its own name and contact
            information on Plaintiff’s credit report, and not that of its counsel, and
            routinely processing disputes and account verifications directly instead of
            through counsel.

            Mr. Newburger has knowledge of the basis of these accusations, the
            truthfulness of the allegations, and the motivation behind the allegations,
            including whether they are solely an attempt to seek disqualification of
            Plaintiff’s attorneys, or solely an attempt to gain an advantage in a civil
            matter, in violation of Rule 4.04 of the Texas Disciplinary Rules of
            Professional Conduct.

      e.    Robbie Malone
            Malone Akerly Martin PLLC
            Northpark Central, Suite 1850
            8750 N. Central Expressway
            Dallas, Texas 75231

            Ms. Malone, as counsel for Defendant PRA, has repeatedly accused
            Plaintiff and his counsel of violating the rules of professional
            responsibility by contacting PRA directly with information regarding his
            dispute of the accuracy of PRA’s credit reporting. This despite Rausch’s
            instructions in writing that Plaintiff contact PRA directly regarding the
            accounts, and despite PRA listing its own name and contact information
            on Plaintiff’s credit report, and not that of its counsel, and routinely
            processing disputes and account verifications directly instead of through
            counsel.

            Ms. Malone has knowledge of the basis of these accusations, the
            truthfulness of the allegations, and the motivation behind the allegations,
            including whether they are solely an attempt to seek disqualification of
            Plaintiff’s attorneys, or solely an attempt to gain an advantage in a civil
            matter, in violation of Rule 4.04 of the Texas Disciplinary Rules of
            Professional Conduct.
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 25 of 114




      f.     Presently unknown or unidentified individuals at Portfolio Recovery
             Associates, LLC will have information discoverable as to

             (1)     The facts alleged in the Complaint;

             (2)     Circumstances surrounding the underlying alleged debt and how
                     said debt was calculated;

             (3)     Records maintained relating to the alleged debt that include
                     payments made on the alleged debt;

             (4)     Communications with Plaintiff and with third parties, including the
                     consumer reporting agencies, relating to the alleged debt;

             (5)     Credit reporting done on the account at issue;

             (6)     Credit communications by Portfolio Recovery Associates, LLC;
                     and

             (7)     Defendant Portfolio Recovery Associates, LLC’s affirmative
                     defenses.

      g.     All witnesses identified on Defendant’s Rule 26 Disclosures.

      h.     Presently unknown or unidentified individuals at the consumer reporting
             agencies may have discoverable information pertaining to

             (1)     Their communications with Defendant and Plaintiff that relate to
                     the alleged debt

             (2)     The information communicated by Defendant and/or their agents
                     or employees to the consumer reporting agencies that relates to the
                     alleged debt; and

      f.     Presently unknown or unidentified individuals of the assignor(s) and/or
             original creditor, Citibank, N.A., will have information discoverable as to
             the facts alleged in the Complaint, circumstances surrounding the
             underlying alleged debt and how said debt was calculated, records
             maintained relating to the alleged debt that include payments made on the
             alleged debt, communications with Plaintiff and with third parties relating
             to the alleged debt, credit reporting done on the account at issue, and
             affirmative defenses.

      g.     Investigation continues. Plaintiff reserves the right to timely supplement
             this response.

2.    Plaintiff does not anticipate the use of expert testimony at this time. Plaintiff
      reserves the right to timely supplement this response.
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 26 of 114




       3.     Plaintiff will forward copies of any non-privileged documents which arise with
              further investigation with respect to Defendants, including:

              a.     Credit Reports from Plaintiff and documents related to the account at
                     issue;

              b.     Any communications between Plaintiff and Defendant that are in
                     Plaintiff’s control.

              c.     Investigation continues. Plaintiff reserves the right to timely supplement
                     this response.

       4.     Computation of any category of damages claimed by the disclosing party:

              a.     Plaintiff is entitled to $1,000 in statutory damages per subject account
                     under the FDCPA from Defendant Portfolio Recovery Associates, LLC
                     pursuant to 15 U.S.C. § 1692k(a)(2), statutory damages of not less than
                     $100 under the Texas Finance Code from Defendant, and reasonable
                     attorneys’ fees, and costs.

       5.     Insurance Policies: None.

                                                   Respectfully submitted,


                                                   /s/ Robert Zimmer
                                                   Robert Zimmer


Robert Zimmer, Esq.
Attorney at Law and Counselor
State Bar No. 24098662
Zimmer & Associates, A Law Firm
707 West 10th Street
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512.434.0306 (phone)
310.943.6954 (fax)


Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
University Park
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7th Floor
Austin, TX 78722
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 27 of 114




Ph: (512)524-9352
Fx: (512)593-5976
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 28 of 114




                               CERTIFICATE OF SERVICE

       I, Robert Zimmer, an attorney, hereby certify that on May 11, 2018, a copy of Plaintiff’s
Supplemental Fed. R. Civ. P. Rule 26(a)(1) disclosures was sent via email to counsel of record
below.


       Manuel H. Newburger
       Barron & Newburger, P.C.
       7320 N. MoPac Expy., Suite 400
       Austin, Texas 78731
       (512) 476-9103
       mnewburger@bn-lawyers.com


       Robbie Malone
       Malone Akerly Martin PLLC
       Northpark Central, Suite 1850
       8750 North Central Expressway
       Dallas, Texas 75231
       (214) 346-2630
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Dated: May 11, 2018                              Respectfully submitted,


                                                   By:     /s/ Robert Zimmer


Robert Zimmer, Esq.
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Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 29 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 30 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 31 of 114
       Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 32 of 114




                              UNITED STATES DISTRICT COURT
                                   Western District of Texas
                                       Austin Division

JOSEPH OZMUN,                                      §
                                                   §
                PLAINTIFF,                         §
                                                   §   CASE NUMBER: 1: 16-cv-00940-SS
                V.                                 §
                                                   §   Hon. Sam Sparks
PORTFOLIO RECOVERY                                 §
ASSOCIATES, LLC; RAUSCH, STURM,                    §
ISRAEL, ENERSON & HORNIK, LLC;                     §
WESTERN SURETY COMPANY; and                        §
TRAVELERS CASUALTY AND                             §
SURETY COMPANY OF AMERICA                          §
                                                   §
                DEFENDANTS.                        §

                     PLAINTIFF'S RULE 26(A)(l) INITIAL DISCLOSURES

        NOW COMES Plaintiff, Joseph Ozmun, by and through his attorneys, and for his Rule

26(a)(l) initial disclosures, states as follows:

        1.      The following individuals may have discoverable information:

                a.      Plaintiff Joseph Ozmun, c/o Celetha Chatman, Community Lawyers Group,
                        Ltd., University Park, 3300 N. Interstate Hwy 35, Suite 7018, 7th Floor,
                        Austin, Texas 78722. Mr. Ozmun has knowledge regarding the allegations
                        of his Complaint, his communications with Defendant, and his claimed
                        damages.

                b.      Celetha Chatman, Community Lawyers Group, Ltd., University Park, 3300
                        N. Interstate Hwy 35, Suite 7018, 7th Floor, Austin, Texas 78722. Ms.
                        Chatman will have information discoverable on the issues of the amount
                        and reasonableness of the attorney fees and costs incurred in this suit.

                c.      Presently unknown or unidentified individuals at Portfolio Recovery
                        Associates, LLC will have information discoverable as to

                        (1)     The facts alleged in the Complaint;

                        (2)     Circumstances surrounding the underlying alleged debt and how
                                said debt was calculated;
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 33 of 114




              (3)     Records maintained relating to the alleged debt that include
                      payments made on the alleged debt;

              (4)     Communications with Plaintiff and with third parties, including the
                      consumer reporting agencies, relating to the alleged debt;

              (5)    Credit reporting done on the account at issue;

              (6)    Credit communications by Portfolio Recovery Associates, LLC;
                     and

              (7)    Defendant Portfolio Recovery Associates, LLC's affirmative
                     defenses.

      d.     All witnesses identified on Defendant's Rule 26 Disclosures.

      e.     Presently unknown or unidentified individuals at the consumer reporting
             agencies may have discoverable information pertaining to

             ( 1)    Their communications with Defendant and Plaintiff that relate to
                     the alleged debt

             (2)     The information communicated by Defendant and/or their agents
                     or employees to the consumer reporting agencies that relates to the
                     alleged debt; and

      f.     Presently unknown or unidentified individuals of the assignor(s) and/or
             original creditor, Citibank, N .A., will have information discoverable as to
             the facts alleged in the Complaint, circumstances surrounding the
             underlying alleged debt and how said debt was calculated, records
             maintained relating to the alleged debt that include payments made on the
             alleged debt, communications with Plaintiff and with third parties relating
             to the alleged debt, credit reporting done on the account at issue, and
             affirmative defenses.

      g.     Investigation continues. Plaintiff reserves the right to timely supplement
             this response.

2.    Plaintiff does not anticipate the use of expert testimony at this time. Plaintiff
      reserves the right to timely supplement this response.

3.    Plaintiff will forward copies of any non-privileged documents which arise with
      further investigation with respect to Defendants, including:

      a.     Credit Reports from Plaintiff and documents related to the account at issue;

      b.     Any communications between Plaintiff and Defendant that are in Plaintiff's
             control.
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 34 of 114




             c.     Investigation continues. Plaintiff reserves the right to timely supplement
                    this response.

      4.     Computation of any category of damages claimed by the disclosing party:

             a.     Plaintiff is entitled to $1,000 in statutory damages under the FDCPA from
                    Defendant Portfolio Recovery Associates, LLC pursuant to 15 U .S.C. §
                    1692k(a)(2), statutory damages of not less than $100 under the Texas
                    Finance Code from Defendant, and reasonable attorneys' fees, and costs.

      5.     Insurance Policies: None.

                                                 Respectfully submitted,


                                                 Isl Celetha Chatman
                                                 Celetha Chatman


Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
University Park
3300 N. Interstate Hwy 35, Suite 7018
7th Floor
Austin, TX 78722
Ph: (512)524-9352
Fx: (512)593-5976
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 35 of 114




  EXHIBIT B
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 36 of 114




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

JOSEPH OZMUN,                                §
                                             §
               PLAINTIFF,                    §       CASE NUMBER: 1:16-cv-00940-SS
                                             §
               v.                            §
                                             §
PORTFOLIO RECOVERY                           §
ASSOCIATES LLC; RAUSCH, STURM,               §
ISRAEL, ENERSON & HORNIK LLC;                §
WESTERN SURETY COMPANY, and;                 §
TRAVELERS CAUSUALTY AND                      §
SURETY COMPANY OF AMERICA                    §
                                             §
               DEFENDANTS.                   §


     PLAINTIFF JOSPEH OZMUN IDENTIFICATION AND STATEMENT OF
    WITNESSES TO TESTIFY AND WITNESSES TO TESTIFY VIA DEPOSITION


       Plaintiff JOSPEH OZMUN (“Plaintiff”), by and through his attorneys, submits this

Statement and Identification of witnesses Expected to Testify at Trial and Testify via Deposition

at Trial, pursuant to Local Rules 16(e)(5) and 16(e)(6):

                                 Expected Witnesses Testifying

   1. Joseph Ozmun, Plaintiff in this action, who may be contacted through counsel, Celetha

Chatman, Community Lawyers Group, Ltd., 73 W. Monroe Street, Suite 514, Chicago, Illinois,

60603, (312) 757-1880; and Robert Zimmer, 707 West 10th Street, Austin, Texas, 78701, (512)

434-0306.

   2. Manuel H. Newburger, Barron & Newburger, PC, 7320 N. MoPac Expy., Suite 400,

Austin, TX 78731.

   3. Robbie Malone, Malone Akerly Martin PLLC, Northpark Central, Suite 1850, 8750 N.

Central Expressway Dallas, Texas 75231.
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 37 of 114




   4. Seung W. Chae
      Michael R. Castro
      Michael L. Garza
      Steve A. Javandoost
      Rausch, Sturm, Israel, Enerson & Hornik, LLC
      15660 N. Dallas Parkway, Suite 350
      Dallas TX 75248
      Toll Free - (866) 456-3744

   5. Nyetta Jackson
      Portfolio Recovery Associates
      120 Corporate Boulevard
      Norfolk, VA 23502

   6. Any witness called by Defendant.


                        Expected Witnesses Testifying Via Deposition

   1. Nyetta Jackson, Portfolio Recovery Associates’ Vice President of Disputes, Customer

Service, and Complaints. Deposition taken on December 15, 2015, in Diana Acosta v. Portfolio

Recovery Associates, LLC, 15-cv-2441, N.D. Illinois.


       Plaintiff’s Exhibit ‘C’, Deposition Pages to Be Offered:

       1 - 6:2
       56: 1-14
       57:21 - 58:15
       64: 21-25
       78:19 - 79:6
       103:5 – 109:25
       Exhibit B-1


                                                                  Respectfully submitted,

                                                                  /s/ Robert Zimmer
                                                                  Robert Zimmer

Robert Zimmer, Esq.
Attorney at Law and Counselor
State Bar No. 24098662
Zimmer & Associates, A Law Firm
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 38 of 114




707 West 10th Street
Austin, TX 78701
512.434.0306 (phone)
310.943.6954 (fax)


Celetha Chatman
Michael Wood
Community Lawyers Group, Ltd.
University Park
3300 N. Interstate Hwy 35, Suite 7018
7th Floor
Austin, TX 78722
Ph: (512)524-9352
Fx: (512)593-5976
cchatman@communitylawyersgroup.com
mwood@communitylawyersgroup.com
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 39 of 114




                               CERTIFICATE OF SERVICE

      I, Robert Zimmer, an attorney, hereby certify that on May 11, 2018, a copy of Plaintiff’s
Witness List was sent via email to counsel of record below.


       Manuel H. Newburger
       Barron & Newburger, P.C.
       7320 N. MoPac Expy., Suite 400
       Austin, Texas 78731
       (512) 476-9103
       mnewburger@bn-lawyers.com


       Robbie Malone
       Malone Akerly Martin PLLC
       Northpark Central, Suite 1850
       8750 North Central Expressway
       Dallas, Texas 75231
       (214) 346-2630
       rmalone@mamlaw.com



Dated: May 11, 2018                             Respectfully submitted,


                                                   By:    /s/ Robert Zimmer


Robert Zimmer, Esq.
Attorney at Law and Counselor
State Bar No. 24098662
Zimmer & Associates, A Law Firm
707 West 10th Street
Austin, TX 78701
512.434.0306 (phone)
310.943.6954 (fax)
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 40 of 114




  EXHIBIT C
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 41 of 114


Manny Newburger

From:                Michael Wood <mwood@communitylawyersgroup.com>
Sent:                Sunday, July 1, 2018 7:45 AM
To:                  Robert Zimmer; Amy Clark
Cc:                  Celetha Chatman; Manny Newburger
Subject:             How to amend witness list in Ozmun?


Good morning!

Now that we have all filed our witness lists, I see that Manny and Robbie have removed Celetha and I from their list,
along with the conspiracy topic. This means it is no longer necessary to have Robbie and Manny on our witness list.

I think we might want to amend it because it will now be out of context and the judge will be confused by our listing
opposing counsel on our witness list. What do you all think the best way to do that is? We could file a “corrected”
witness list, or file a motion, or leave it to deal with at pretrial.

I do want to leave our motion in limine barring the conspiracy topic in place to prevent it from being brought up at the
last minute.

Let me know what you all think!


Thank you,

Michael J. Wood
Attorney at Law
mwood@communitylawyersgroup.com

Community Lawyers Group, Ltd.
73. W. Monroe Street, Suite 514
Chicago, Illinois 60603
www.communitylawyersgroup.com
(312) 757‐1880 Phone
(312) 265‐3227 Fax

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Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 42 of 114




  EXHIBIT D
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 43 of 114


Manny Newburger

From:                Celetha Chatman <cchatman@communitylawyersgroup.com>
Sent:                Thursday, October 27, 2016 1:36 PM
To:                  Robbie Malone; Manny Newburger
Subject:             Ozmun v. PRA et al (16-cv-00940-SS)
Attachments:         Settlement Agreement & Release.docx


Counselors,

Plaintiff’s demand is $7,800 pursuant to the terms in the attached release.

Thanks,

*NOTE NEW ADDRESS*

Celetha C. Chatman
Attorney at Law
cchatman@communitylawyersgroup.com

Community Lawyers Group
125 S. Clark St., Suite 1700
WeWork National Building
Chicago, Illinois 60603
www.communitylawyersgroup.com
(312)757-1880 Main
(312)265-3227 Fax

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       Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 44 of 114




                                  FULL & FINAL RELEASE
        JOSEPH OZMUN (“Plaintiff”), PORTFOLIO RECOVERY ASSOCIATES, LLC,

RAUSCH, STURM, ISRAEL, ENERSON & HORNIK LLC; WESTERN SURETY COMPANY,

and;    TRAVELERS         CAUSUALTY           AND      SURETY        COMPANY          OF     AMERICA

(“DEFENDANTS”) (together, the “Parties”) wish to resolve the Debt (defined below) and any claims

between them.

        FOR THE SOLE CONSIDERATION of SIX THOUSAND FIVE HUNDRED

DOLLARS ($6,500) paid, and the elimination and waiver of any and all obligations related to Account

Number beginning in #3570 (the “Debt”), Joseph Ozmun hereby releases and discharges Defendant,

and its officers, directors, members, employees, agents, representatives, law firms, attorneys, divisions,

executors, successors, assigns, and insurers from any and all claims, actions, causes of action, and

demands, known or unknown, which Joseph Ozmun or his heirs, legal representatives, successors or

assigns have or may have, arising out of Defendant’s attempt to collect the Debt. Joseph Ozmun

explicitly releases and discharges PRA from any and all claims, actions, causes of action, and demands,

known or unknown, which Joseph Ozmun has or may have in any way relating to any attempt to

collect the Debt.

        DEFENDANTS WILL FORWARD the settlement payment to Plaintiff’s counsel after its

receipt of this release executed by Joseph Ozmun as well as Plaintiff’s counsel’s completed firm W-9.

Furthermore, Plaintiff will promptly file a stipulation to dismiss Joseph Ozmun’s claims against the

Defendant with prejudice and without costs in the lawsuit entitled Joseph Ozmun v. Portfolio Recovery

Associates, LLC, Case No. 1:16-cv-00940 filed in the United States District Court for the Western

District of Texas.

        IT IS FURTHER UNDERSTOOD that the claimed injuries and damages and the legal

liability therefore are disputed and denied, and that this Release is solely intended to compromise and
       Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 45 of 114



terminate all claims for both known and unknown damages of whatever nature, including all future

developments thereof, in any way growing out of or connected with or which may hereafter in any

way grow out of or be connected with any attempt of Defendant to collect the Debt.

        IT IS EXPRESSLY WARRANTED by the undersigned that no promise or inducement has

been offered except as herein set forth, that this Release is executed without reliance upon any

statement of representation of the party released or its representatives, and that acceptance of the

consideration, set forth herein, is in full accord and satisfaction of the disputed claim for which liability

is expressly denied.

        DEFENDANTS WILL ELIMINATE the Debt from Joseph Ozmun’s responsibility

(which shall include but not be limited to requesting the deletion of any trade-lines from Joseph

Ozmun’s credit reports and refraining from filing a 1099-C with the IRS) and will not sell or assign

the Debt to anyone else. Joseph Ozmun acknowledges that the credit bureaus are separate entities

and that PRA cannot be held liable for the performance of the credit bureaus in response to any such

deletion request.

        THE PARTIES make no representation regarding the tax consequences, if any, of the

payment made pursuant to this Release. Unless otherwise set forth herein, the Parties shall bear their

own costs and attorney’s fees.

        IF ANY TERM or provision of this Release is not satisfied by a Party, each Party agrees to

provide reasonable notice in writing to the other Party informing of the deficiency and allowing

reasonable time and opportunity to cure. For PRA, reasonable notice shall be written notice to PRA's

Office of General Counsel at 140 Corporate Boulevard, Norfolk, Virginia 23502.

        EXCEPT AS REASONABLY NEEDED to enforce the terms of this Release or otherwise

ordered by court, to secure tax, financial, or legal advice, to report to governmental agencies and or

entities which require disclosure for public benefits or to discuss or file for bankruptcy protection, the


                                                     2
      Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 46 of 114



Parties agree to keep the terms of the Release and amount of the settlement confidential. This Release

shall become effective upon its execution, which may be executed in counterparts.

I, Joseph Ozmun, declare under penalty of perjury that I have personally affixed my signature hereto
after having read (or been read) the terms of this agreement; that I was afforded the opportunity to
discuss the terms with my attorney prior to my signing the same; and that I have signed this agreement
knowingly and voluntarily.




 Signed this ____ day of ___________, 2016,
 by,
                                                      Joseph Ozmun



 Signed this ____ day of ___________, 2016,
 by,
                                                      Portfolio Recovery Associates, LLC

                                                      By:

                                                      Its:




                                                      RAUSCH, STURM, ISRAEL, ENERSON &
                                                      HORNIK LLC

                                                      By:

                                                      Its:




                                                      WESTERN SURETY COMPANY

                                                      By:

                                                      Its:



                                                  3
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 47 of 114




                                    TRAVELERS   CAUSUALTY     AND
                                    SURETY COMPANY OF AMERICA

                                    By:

                                    Its:




                                4
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 48 of 114




  EXHIBIT E
              Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 49 of 114


Manny Newburger

From:              Manny Newburger
Sent:              Thursday, June 28, 2018 10:14 AM
To:                'amy@amyclarklaw.com'
Cc:                Robbie Malone (rmalone@mamlaw.com); Cooper Walker; Kevin Crocker (kcrocker@bn-lawyers.com)
Subject:           Ozmun



Amy:

With the granting of summary judgment for defendants on your client’s TDCA claims there
is nothing left in this case but a claim for statutory damages under the FDCPA. (I will
remind you that Mr. Ozmun neither pled for nor disclosed any actual damages.)

Without any admission of liability, and solely to resolve disputed claims, I am authorized
to offer in full settlement of this case the total sum of $1,000.00, with the award of fees and
costs of the parties to be determined by the Court.

This offer is open until the earlier of 5:00 p.m. on Friday or the filing of your mandamus
application. Any pursuit of that application will necessitate further work on our part and
will be deemed inconsistent with, and a rejection of this offer.

I want to be clear that my client continues to assert that this suit is meritless. However, we
are trying to eliminate the need for a trial over a maximum of $1,000. I also want to be
clear in stating that it will be our position that any rejection of this offer, given the posture
of this case, will be actionable under 28 USC Sec. 1927.

I shall look forward to your response.

Manny

 Manuel H. Newburger*
 Barron & Newburger, PC
 7320 N. MoPac Expy., Suite 400
 Austin, TX 78731
 512.649.4022 |Direct
 866. 476.9103, x‐216 |Office
 512.797‐3328 |Cell
 mnewburger@bn‐lawyers.com
 Twitter: @ManuelNewburger
 *Licensed in TX and CO

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Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 51 of 114




  EXHIBIT F
                    Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 52 of 114


Manny Newburger

From:                   Amy Clark <amy@amyclarklaw.com>
Sent:                   Sunday, July 1, 2018 1:06 AM
To:                     Robbie Malone; Manny Newburger; Kevin Crocker; Cooper Walker
Cc:                     Michael Wood; Celetha Chatman; Robert Zimmer; rkollman's email; Michelle French; rkollman
                        rodrigueztrialfirm. com
Subject:                Response to global settlement offer in Ozmun v. PRA et a.


Good evening,

I have discussed with Mr. Ozmun your offer of $1000 with parties to seek attorney fees and costs from the court.

Mr. Ozmun rejects the offer.

Thank you for the extra time for him to consider, I know he feels more comfortable with the decision having had a day
to consider.

We will be filing the Mandamus on the issue of recusal shortly, and if the motion for a stay pending the mandamus is
denied, we will also bring the stay issue before the 5th circuit as well.

Have a lovely rest of your weekend.

‐‐
Graciously yours,

Amy E. Clark

Amy Clark Law
11801 Domain Blvd. 3rd Floor
Austin, Texas 78758
512-850-LAW-0 (512-850-5290)




                                                             1
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 53 of 114




 EXHIBIT G
                    Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 54 of 114


Manny Newburger

From:                   Amy Clark <amy@amyclarklaw.com>
Sent:                   Friday, July 6, 2018 12:18 PM
To:                     Manny Newburger; Robbie Malone; Kevin Crocker; Cooper Walker
Cc:                     Michael Wood; Celetha Chatman; rkollman's email; Robert Zimmer; Michelle French
Subject:                Ozmun v. PRA and RSIEH -- settlement email


Good morning,

I have spoken with my client and informed him of the offer and we discussed the issues presented. I have the authority
to present a counter‐offer with the following terms:

(1) .PRA will not collect or report on Mr. Ozmun's three consumer debts;

(2) .Defendants will pay Mr. Ozmun $3225.00 for his remaining claims; and

(3) .Parties to file motions to the court for fees and costs

(4) .Mr. Ozmun will dismiss his remaining claims (after attorney fees and costs are determined by court)
against both defendants;

Please do not hesitate to call me with any questions about this or email. We remain open to discussing resolution of this
matter and welcome further contact. You can call my office or after 4, feel free to call my cell at 626‐215‐5674.

‐‐
Graciously yours,

Amy E. Clark

Amy Clark Law
11801 Domain Blvd. 3rd Floor
Austin, Texas 78758
512-850-LAW-0 (512-850-5290)




                                                               1
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 55 of 114




 EXHIBIT H
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 56 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 57 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 58 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 59 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 60 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 61 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 62 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 63 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 64 of 114




    EXHIBIT I
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 65 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 66 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 67 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 68 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 69 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 70 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 71 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 72 of 114
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 73 of 114




   EXHIBIT J
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 74 of 114


Manny Newburger

From:                rkollman's email <rkollman@sbcglobal.net>
Sent:                Wednesday, July 18, 2018 9:33 AM
To:                  Amy Clark
Cc:                  Manny Newburger; Kevin Crocker; Cooper Walker; Michelle French; Robert Zimmer; Celetha
                     Chatman; Michael Wood; Robbie Malone (rmalone@mamlaw.com)
Subject:             Re: Ozmun


What do you think about responding to Manny’s email that we are holding the funds in trust and will sign a joint motion
to dismiss after the conclusion of the attorney fee proceedings, with the understanding that those results may
necessitate revision? Also, we do not believe the local rules re briefing schedule apply here. Maybe ask Robbie to explain
to him?


Ruth A. Kollman, Of Counsel
Law Office of Mynor E. Rodriguez P.C.
State Bar I.D. No. 11668050
1300 McGowen
Suite 280
Houston, TX 77004
832‐779‐1081 tel
888‐351‐3773 toll free
832‐553‐7420 fax
rkollman@rodrigueztrialfirm.com


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(electronic or paper). Thank you.

On Jul 17, 2018, at 12:37 PM, Amy Clark <amy@amyclarklaw.com> wrote:

        Thank you, your email has been received.




        On Tue, Jul 17, 2018 at 12:29 PM, Manny Newburger <mnewburger@bn‐lawyers.com> wrote:

           Amy:



                                                            1
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 75 of 114

I trust that you are now back in Austin. As you know, Mr. Ozmun
unequivocally agreed to dismiss his suit with prejudice in exchange for
payment of $1,250. As you also know, that sum has been paid to you by
cashier’s check. We therefore ask that you file the motion to dismiss. Judge
Sparks can certainly set a briefing schedule, but if he does not the local rules
provide one.



Nothing in the offer said that dismissal was contingent upon a briefing
schedule. I therefore ask that you dismiss with prejudice, as agreed.



Thank you.



Manny



 Manuel H. Newburger*

 Barron & Newburger, PC
                                        <image001.png><image002.png>
 7320 N. MoPac Expy., Suite 400

 Austin, TX 78731

 512.649.4022 |Direct
                                                             <image004.jpg>
 866. 476.9103, x‐216 |Office

 512.797‐3328 |Cell

 mnewburger@bn‐lawyers.com

 Twitter: @ManuelNewburger

 *Licensed   in TX and CO

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        Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 76 of 114




‐‐
Graciously yours,

Amy E. Clark

Amy Clark Law
11801 Domain Blvd. 3rd Floor
Austin, Texas 78758
512-850-LAW-0 (512-850-5290)




                                        3
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 77 of 114




 EXHIBIT K
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 78 of 114


Manny Newburger

From:                Manny Newburger
Sent:                Thursday, October 20, 2016 3:31 PM
To:                  Celetha Chatman; Robbie Malone
Subject:             RE: Ozmun v. PRA



So, you want to continue to violate the Court’s order?

I can do it at 4:30 or 5:00 also.


Manny

Manuel H. Newburger
Licensed in Texas and Colorado
Barron & Newburger, PC
7320 N. MoPac Expy., Suite 400
Austin, TX 78731
(512) 649-4022 (Direct)
(512) 476-9103, x-216
Fax: (512) 279-0310
mnewburger@bn-lawyers.com
On Twitter: @ManuelNewburger




From: Celetha Chatman [mailto:cchatman@communitylawyersgroup.com]
Sent: Thursday, October 20, 2016 3:29 PM
To: Robbie Malone
Cc: Manny Newburger
Subject: Re: Ozmun v. PRA



I can’t do the Rule 26(f) conference at 3:30. Are the two of you free tomorrow or Monday, I can set up a conference call
number.

Thanks,

Celetha C. Chatman
Attorney at Law
cchatman@communitylawyersgroup.com

Community Lawyers Group
73 W. Monroe Street, Suite 502
Chicago, Illinois 60603
www.communitylawyersgroup.com
                                                            1
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 79 of 114

(312)757-1880 Main
(312)265-3227 Fax

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From: Robbie Malone <rmalone@mamlaw.com>
Date: Thursday, October 20, 2016 at 3:25 PM
To: Celetha Chatman <cchatman@communitylawyersgroup.com>, Manny Newburger <mnewburger@bn‐
lawyers.com>
Subject: RE: Ozmun v. PRA

Celetha,
We need to confirm the call…. Today is almost over. Are we on for 330? I am happy to conference call everyone.

From: Robbie Malone
Sent: Thursday, October 20, 2016 3:08 PM
To: 'Celetha Chatman' <cchatman@communitylawyersgroup.com>; 'Manny Newburger' <mnewburger@bn‐
lawyers.com>
Subject: RE: Ozmun v. PRA

I also did not get a response. Are we doing the conference at 330? If so who is initiating the call?

From: Robbie Malone
Sent: Thursday, October 20, 2016 3:01 PM
To: 'Celetha Chatman' <cchatman@communitylawyersgroup.com>; Manny Newburger <mnewburger@bn‐
lawyers.com>
Subject: RE: Ozmun v. PRA

Celetha,
I don’t know where you got that impression given that both Manny and I filed responses to your motion. Additionally
we have never spoken about this case. I don’t think Manny’s response was hostile just very firm.



From: Celetha Chatman [mailto:cchatman@communitylawyersgroup.com]
Sent: Thursday, October 20, 2016 3:00 PM
To: Manny Newburger <mnewburger@bn‐lawyers.com>; Robbie Malone <rmalone@mamlaw.com>
Subject: Re: Ozmun v. PRA

Manny,

I was under the impression that Robbie was now representing both PRA and ISRAEL, ENERSON & HORNIK LLC. I have no
reason to leave you out of a rule 26(f) conference. As we move forward your hostile responses are no needed.

Thanks,


                                                              2
              Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 80 of 114

Celetha C. Chatman
Attorney at Law
cchatman@communitylawyersgroup.com

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From: Manny Newburger <mnewburger@bn‐lawyers.com>
Date: Thursday, October 20, 2016 at 2:51 PM
To: Robbie Malone <rmalone@mamlaw.com>, Celetha Chatman <cchatman@communitylawyersgroup.com>
Subject: RE: Ozmun v. PRA

Not only should I have been included, but it was the responsibility of Plaintiff’s counsel to schedule a
Rule 26 conference. I will not approve any order until there is a conference, and if one is submitted
without such a conference I intend to inform Judge Sparks of the failure.

I am available to conduct a Rule 26 conference later this afternoon.


Manny

Manuel H. Newburger
Licensed in Texas and Colorado
Barron & Newburger, PC
7320 N. MoPac Expy., Suite 400
Austin, TX 78731
(512) 649-4022 (Direct)
(512) 476-9103, x-216
Fax: (512) 279-0310
mnewburger@bn-lawyers.com
On Twitter: @ManuelNewburger




From: Robbie Malone [mailto:rmalone@mamlaw.com]
Sent: Thursday, October 20, 2016 2:36 PM
To: Celetha Chatman


                                                         3
              Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 81 of 114
Cc: Manny Newburger
Subject: RE: Ozmun v. PRA

Celetha,
Shouldn’t Manny be included in this?

From: Celetha Chatman [mailto:cchatman@communitylawyersgroup.com]
Sent: Thursday, October 20, 2016 2:34 PM
To: Robbie Malone <rmalone@mamlaw.com>
Subject: Ozmun v. PRA

Robbie,

I have attached a proposed discovery plan and scheduling order for this case. The proposed discovery plan was due
yesterday. I am available to discuss this matter Friday or today.

Thanks,

Celetha C. Chatman
Attorney at Law
cchatman@communitylawyersgroup.com

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Please note our new Austin address:
7320 MoPac Expy N
Greystone II Suite 400
Austin, TX 78731




                                                          4
Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 82 of 114




  EXHIBIT L
               Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 83 of 114


Manny Newburger

From:                rkollman's email <rkollman@sbcglobal.net>
Sent:                Friday, May 11, 2018 10:05 AM
To:                  Manny Newburger
Subject:             Ozmun v. PRA, et al.


Plaintiff and Plaintiff’s counsel are filing a motion to recuse Judge Sparks in the referenced matter. I assume you oppose
unless you email me otherwise.


Ruth A. Kollman, Of Counsel
Law Office of Mynor E. Rodriguez P.C.
State Bar I.D. No. 11668050
1300 McGowen
Suite 280
Houston, TX 77004
832‐779‐1081 tel
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Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 84 of 114




EXHIBIT M
     Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 85 of 114




                      UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

JOSEPH OZMUN,                               §
                                            §
       Plaintiff,
                                            §
                                            §
v.
                                            §         CASE NO.: 1:16-cv-00940-SS
                                            §
PORTFOLIO RECOVERY
                                            §
ASSOCIATES, LLC and RAUSCH,
                                            §
STRUM, ISRAEL, ENERSON &
                                            §
HORNIK LLC.,
                                            §
       Defendants.                          §


     TIME AND EXPENSE RECORDS OF NARRON & NEWBURGER, P.C.


                                         TIME
Date                Staff     Description                   Hours     Charges
                            Reviewed multiple
                            correspondence from M.
                            Newburger and B. Hornik
                            regarding new lawsuit;
                            Reviewed Plaintifl's Original
                            Complaint; Begin legal
                            research and analysis of
8/23/2016           KC                                        1.9     $665.00
                            case law concerning
                            communications with
                            courts not actionable under
                            FDCPA; Matter analysis
                            regarding draft Answer,
                            motion for judgment on the
                            pleadings, Rule 11 motion.
                            work on answer. Research
8/24/2016           MN                                        1.4     $630.00
                            on plaintiff and his counsel.
                            Continued work on
8/25/2016           MN                                        0.7     $315.00
                            pleadings..
                            Drafted settlement
8/25/2016           MN                                        0.5     $225.00
                            documents.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 86 of 114




                     Conversation with opposing
8/29/2016    MN      counsel. Dralled slip and         0.7      $315.00
                     order.
                       Confirmed consent.
8/29/2016    MN      Finalized stip and order.         0.4      $180.00
                     Efiled both.
                     Work on re-finishing up
9/4/2016     MN      answer, CIP, and Rule 11          1.6       $720,00
                     motion.
                     Reviewed drafts of RSIEH
                     and Traveler's answer,
                     certificate of interested
                     persons, Rule 11 motion and
9/5/2016     KC                                        0.6       $210,00
                     response to motion to
                     enforce settlement;
                     Conference with M.
                     Newburger regarding same.
                     Final revisions and research
9/5/2016     MN      for same. Prepared response       1.2       $540.00
                     Lo motion to enforce.
                     Reviewed Bob's edits, Made
9/6/2016     MN      changes and responded to          0.2        $90,00
                     Bob.
                     Conversation with Robbie
9/7/2016     MN      Malone, Revised answer Lo         1.1       $495,00
                     address travelers' issues.
                     Finalized answer. E-filed
9/7/2016     MN      same. Finalized Rule 11.          0.6       $270.00
                     Transmitted all.
                     Correspondence and
                     conference with M.
                     Newburger regarding RSIEH
                     and Traveler's Response to
                     Plaintiff's Motion to Enforce
                     Settlement Agreement; Edit
                     and supplement RSIEH and
                     Traveler's Response to
9/19/2016    KC                                        0.9       $315.00
                     Plaintiff's Motion to Enforce
                     Settlement Agreement;
                     Draft proposed Order
                     denying Plaintiff's Motion to
                     Enforce Setllement
                     Agreement; E-file with
                     Court RSIEH and Traveler's
                     Response to Plaintiff's
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 87 of 114




                     Motion to Enforce
                     Settlement Agreement and
                     proposed Order Denying
                     Plaintiff's Motion to Enforce
                     Settlement Agreement;
                     Draft correspondence to all
                     counsel regarding same;
                     Reviewed correspondence
                     from M. Newburger
                     regarding same.
                     Reviewed PH.A's response to
                     the motion to enforce
9/20/2016    KC      settlement agreement and          0.4       $140,00
                     exhibits; Correspondence
                     with M. Newburger
                     regarding same.
                     Reviewed PRA's filed
                     proposed order on plaintifl's
9/21/2016    KC                                        0.1        $35,00
                     motion to enforce
                     settlement agreement.
                     Email exchanges regarding
                     settlement; scheduling order.
                                                        0.
10/20/2016   MN      Reviewed discovery plan and                 $4,05.00
                                                         9
                     Scheduling order. Prepared
                     rnJ forms.
                     Rule 26 conference.
                                                        1.
10/21/2016   MN      Conversation with Robbie                   $540.00
                                                         2
                     Malonre after.
                     Research on cases to rebut         0.
10/21/2016   MN                                                 $405.00
                     Plaintiff's damages theory.         9
                                                        0.
10/21/2016   MN      Report to clients.                         $180.00
                                                         4
                     Reviewed insurance policies.
10/31/2016   MN                                        0.5      $225.00
                     Finalized Disclosures.
11/2/2016    MN      Prepared deposition notice.       0.4     No Charge
11/16/2016   MN      Work on deposition prep.          3.3      $1,485.00
                     Continued document
11/17/2016   MN      analysis and prep for             4.2      $1,890.00
                     plaintifl's deposition.
                     Continued depo prep.
11/20/2016   MN      Drafted ohjections to RFPs.       6.2      $2,790.00
                     Research for same.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 88 of 114




                     Finished up discovery
11/21/2016   MN      ohjections. Transmittal email     0.5       $225.00
                     to Celetlrn Coleman.
11/21/2016   MN      Deposition of Plaintiff.          4.7      $2,115.00
                     Call to Bob Hornik to
                     report. Prepared Revised
11/22/2016   MN                                        0.7       $315.00
                     Rule 11 motion and letter.
                     Report to Travelers.
11/23/2016   MN      Work on MSJ.                      0.7       $315.00
                     Drafted and revised Steve's
11/27/2016   MN      declaration. Research on          1.6       $720.00
                     issues for MSJ.
                     Reviewed revisions to
11/29/2016   MN                                        0.2     No Charge
                     declaration from Steve.
                     Work on objections and
                     responses to RFAs, RFPs,
11/29/2016   MN      and Interrogatories.              3.2       $1,440.00
                     Selected documents for
                     production.
                     Finalized and e-filed
11/30/2016   MN                                        0.2        $90.00
                     magistrate forms.
                     Reviewed Bob's comments on
11/30/2016   MN      discovery. Additional             1.4       $630.00
                     research. Revised answers.
                     Reviewed scheduling
                                                        0.
12/2/2016    MN      order. Call to Robbie                    No Charge
                                                         4
                     Malone re: ADR Report.
                     Prepared ADR report.               0.
12/5/2016    MN                                                 $315.00
                     Research for same.                  7
                     Finalized and e-1iled ADR          0.
12/7/2016    MN                                                 $225.00
                     Report.                             5
                     Reviewed EZ Messenger
                                                        0.
12/7/2016    MN      notes. Prepare Maiy Boyle                  $180.00
                                                         4
                     declaration.
                     Work on deposition
12/9/2016    MN                                        1.4      $630.00
                     analysis.
                     Prepared requests for
                     production and credit
                     report authorization.
                                                        4.
12/14/2016   MN      Completed analysis of                     $2,205.00
                                                         9
                     Plaintiff's deposition. Work
                     on statement of
                     undisputed facts for MSJ.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 89 of 114




                                                         2.
12/19/2016   MN      Work on MSJ.                              $1,035.00
                                                          3
                     Conversation with Andrew            0.
12/23/2016   MN                                                 $270.00
                     Wilson at Travelers.                 6
                     Finished drafting, revising, a
2/19/2017    MN      d researching MSJ brief:           4.9     $2,205.00
                     affidavit, and SOUF.
                     Work on finalizing MSJ,
2/21/2017    MN      Created exhibits for Michael's     0.5      $225.00
                     declaration.
                     Finalized motion and
                     exhibits, Efiled everytl1ing.
                     Emails to clients and
2/21/2017    MN      opposing counsel. Call from        2.4     $1,080.00
                     court cleric Instructions to
                     AH. Meeting witl1 Kevin.
                     (Continuous block of lime,)
                     Drafted and revised
2/22/2017    MN                                         0.3      $135.00
                     proposed offer.
                     Conversation with Bob re:
3/13/2017    MN      witness and Exhibit                0.1    No Charge
                     designations.
                     Conversation with xerxes
                     Marlin re: designations;
3/13/2017    MN                                        0,40      $180.00
                     scheduling order; OC's
                     failure to comply.
                     Prepared designation of
                     witnesses and exhibits and
3/13/2017    MN                                         4.6     $2,070.00
                     accompanying exhibits and
                     expert report.
                     Finalized exhibit and witness
3/17/2017    MN                                         0.2    No Charge
                     disclosures and report.
                     Prepared final version of trial
3/17/2017    MN      Exhibits, Email to all             0.3      $135,00
                     counsel.
                     Review of docs from Steve.
                     Assessment of exhibit.
3/21/2017    MN                                         0.3      $135,00
                     issues, Email to Steve and
                     Bob.
                     Research and assessment of
                     motion in limine vs, motion
3/21/2017    MN                                         1.3      $585.00
                     for sanctions on Pl. violations
                     of orders.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 90 of 114




                     PACER research, Drafted and
                     revised response to second
                     motion and proposed order.
3/23/2017    MN      Assessment of Kevin's             1.2       $540.00
                     suggestions, Finalized and e-
                     !iled response and proposed
                     order.
                     Drafted and revised
                     declaration for Robbie
3/29/2017    MN                                        1.3       $585,00
                     Malone, Meeting with Kevin
                     regarding same.
                     Report to clients re: today's
3/29/2017    MN                                        0.2     No Charge
                     !ilings.
                     Drafted opposition to
                     mot.ion to amend and              2,4
3/29/2017    MN                                                 $1,080.00
                     proposed order. Research            0
                     for same.
                     Reviewed motion to amend.
3/29/2017    MN                                        0.8       $360.00
                     Call to Robbie and Xerxes.
                     Preliminary work on reply
3/30/2017    MN                                        0.9       $4,05.00
                     brief for MSJ,
                     Created a comparison copy
                     and reviewed Ribbie's
3/30/2017    MN                                        0.2     No Charge
                     revised declaration, Email
                     to Robbie.
                     Research and drafting,
                                                        5.
3/30/2017    MN      Completed and revised draft                $2,610.00
                                                         8
                     of MSJ reply brief.
                     Finalized response to motion
                     to amend. E-liled same,
3/30/2017    MN                                        1.6       $720,00
                     Finalized reply brief. E-!iled
                     same,
                     Emails to opposing counsel
3/30/2017    MN                                        0.2     No Charge
                     and to clients,
4/3/2017     MN      Work on Motion for Fees.          0.5       $225.00
                     Revised Rule 11 motion. New
4/4/2017     MN                                       0.4,0      $180.00
                     letter.
                     Prepared and revised answer
4/5/2017     MN                                        1.9       $855.00
                     to First Amended Complaint.
                     Finalized answer to FAC and
4/6/2017     MN                                        0.3     No Charge
                     e-filed same.
                     Conversation with Robert
4/6/2017     MN                                        0.2        $90.00
                     Zimmer.
4/7/2017     MN      Reviewed PRA's answer.            0.2     No Charge
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 91 of 114




                     Analysis of TDCA vs. FDCPA
4/7/2017     MN                                       0.4,0      $180.00
                     fee standard.
                     Conversation with Bob re:
4/12/2017    MN      Judge Sparks' order; making       0.2     No Charge
                     an oHer.
                     Drafted and revised letter to
4/13/2017    MN      Michael Wood and Celetha          0.5       $225.00
                     Chatman.
                     Call from Robbie Malone re:
                     her call with Celetha; lack of
5/8/2017     MN      compliance with Judge            0,70       $315,00
                     Sparks' order; motion to
                     extend that makes no sense,
                     Call from Robert Zimmer.
5/8/2017     MN                                        1.4       $630.00
                     Call to Bob to report.
                     Drafted ,md revised email to
5/8/2017     MN      Robert Zimmer re:                 0.2        $90.00
                     settlement.
                     Call from Robbie re: Emails
5/11/2017    MN                                        0.2        $90.00
                     from Tyler.
                     Drafted report and request
                     for a ruling. Received
5/11/2017    MN      motion just as I was about        0.7       $315.00
                     to send it to Robbie. Email
                     to Robbie.
                     Revised report to make it a
                     response. Mulliple revisions
5/11/2017    MN      and emails to Robbie.             0.7       $315.00
                     Prepared exhibit and
                     proposed order,
6/5/2017     MN      Prep. for hearing.                1.3       $585.00
                     Call from Robbie re:
6/5/2017     MN      tomorrow's status                 0.5       $225.00
                     conference.
                     Research and drafting for
6/5/2017     MN      brief in support of Rule 11       2.4     $1,080.00
                     motion.
6/6/2017     MN      Status report to clients.           0     No Charge
                     Continued prep for hearing.
                     Identified deposition
6/6/2017     MN      excerpts that are likely to       1.5       $675.00
                     be relevant to why
                     settlement did not occur
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 92 of 114




                     and why sanctions are
                     appropriate.
                     Hearing (Travel to
                     courthouse. Hearing before
 6/6/2017    MN      Judge Sparks. Discussion          2.1       $945.00
                     with Xerxes and Steve after.
                     Travel home.)
 6/8/2017    MN      Research for 1927 motion.         2.9     $1,305.00
                     Analysis of cross-motion for
 6/9/2017    MN      SJ. Reviewed all exhibits.        1.2       $540.00
                     Email to oc.
                     Work on 1927 motion and
 6/9/2017    MN                                        1.4       $630.00
                     brief.
                     Continued work on 1927
                     brief. Preliminary work on
6/10/2017    MN                                        3.6     $1,620.00
                     declaration to accompany
                     it.
6/19/2017    MN      Work on declaration.              0.8       $360.00
                     Conversation with Robert
6/20/2017    MN                                        0.5      $225.00
                     Zimmer.
                     Work on affidavit and
6/22/2017    MN                                        1.3      $585.00
                     analysis of time records.
 7/24/201
             MN      Analysis of SJ order.            0.23       $103.50
    7
                     Call to Xerxes Martin re:
8/28/2017
             MN      receivership motion in the        0.4      $180.00
   MN
                     sate court proceeding.
                     Conversation with Bob re:
10/3/2017    MN      merits of a motion to             0.5       $225.00
                     reconsider.
                     Call with Robbie Malone re:
                     case strategy in light of the
10/18/2017   MN                                        1.3       $585.00
                     consolidation. Report to
                     Bob.
                     Letter to OC regarding
11/6/2017    MN      defendants' joint offer of        0.4       $180.00
                     settlement.
                     Call to Bob re: timing and
11/6/2017    MN                                        0.2        $90.00
                     strategy.
                     Letter to OC regarding
11/6/2017    MN      defendants' joint offer of        0.4       $180.00
                     settlement
                     Call to Bob re: timing and
11/6/2017    MN                                        0.2        $90.00
                     strategy
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 93 of 114




                     Preliminary research and
                     drafting for motion and
12/3/2017    MN      brief t hold Plaintiff in         3.4     $1,530.00
                     contempt and dismiss or
                     prohibit evidence.
                     Finished research and
                     drafting for motion and
                     brief to dismiss and for
12/10/2017   MN                                        2.6     $1,170.00
                     contempt. Prepared
                     proposed order and email to
                     Robbie Malone.
                     Analyzed and revised PRA's
                     changes to the motion and
12/14/2017   MN                                        1.1       $495.00
                     brief seeking dismissal and
                     contempt sanctions.
                     Final edits to motion and
                     order. Reviewed Judge
                     Sparks' rules and local
                     rules before filing. Email to
12/19/2017   MN                                        0.8       $360.00
                     PRA's counsel regarding
                     certificate of conference;
                     proposed email to Michael
                     Wood.
                     Finalized motion to Dismiss
                     and e-filed motion and
12/20/2017   MN      proposed order. Email to            3     $1,350.00
                     client. Email to all attorneys
                     o record.
                     Drafted and revised reply in
                     support of the motion to
                     dismiss(including analysis
 1/5/2018    MN                                        2.8     $1,260.00
                     of the response and exhibits
                     and research on Karen
                     Mayfield-Jones).
                     Conversation with Robert
                     Zimmer re: motion to
 1/5/2018    MN                                        0.3      $135.00
                     dismiss and for contempt
                     sanctions.
                     Reviewed revisions to reply
                     brief from PRA's counsel
 1/8/2018    MN                                          6     $2,700.00
                     and made corrections and
                     additional revisions.
                     Analysis of potential
1/15/2018    MN      proof/evidentiary issues for      0.5       $225.00
                     the 1/23 hearing and of the
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 94 of 114




                     deficiencies in Plaintiffs
                     designations.
                     Conversation with Robbie
                     Malone re: strategy and
1/15/2018    MN                                        1.2      $540.00
                     evidence for the 1/23
                     hearing.
                     Call from Robbie Malone re:
1/18/2018    MN      having our clients at             0.2        $90.00
                     Tuesday's hearing.
                     Call from Robbie Malone as
                     a follow up to yesterday,
1/19/2018    MN                                        0.4      $180.00
                     regarding Tuesday's
                     hearing.
                     Conversation with Robert
1/19/2018    MN      Zimmer re: Tuesday's              0.2        $90.00
                     hearing.
1/23/2018    MN      Work on hearing prep.             1.7      $765.00
                     Final prep for hearing.
                     Additional research on a
1/23/2018    MN                                        1.5      $675.00
                     few issues surrounding the
                     RPC violations.
                     Lunch meeting with Steve,
                     Robbie, and Karen prior to
1/23/2018    MN                                        1.5    No Charge
                     the hearing (incl. time to get
                     to restaurant).
                     Went to courthouse.
                     Participated in hearing
1/23/2018    MN      before Judge Sparks. Post-        1.4       $630.00
                     hearing discussion with
                     Robbie, Karen, and Steve.
                     Searched US DC WO
                     Website for Judge Sparks's
                     Court Reporter information.
                     Drafted letter to Court
                     Reporter for Kevin's review
1/23/2018    AH                                          1        $75.00
                     per MHN instructions
                     requesting copy of 1/23
                     2:00 hearing in this matter.
                     Transmitted letter to Court
                     Reporter via email.
                     Opened email from Judge
                     Sparks' Court Reporter
1/24/2018    AH      responding to my email            0.2        $15.00
                     request for hearing
                     transcript and responded to
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 95 of 114




                     her thanking her for reply.
                     Court Reporter will be
                     sending invoice for
                     transcript shortly.
                     Forwarded reply to MHN
                     and Kevin for their
                     information.
                     Received & reviewed email
                     from Court Reporter
                     regarding hearing
                     transcript. Forwarded email
                     to MHN and Kevin for their
1/24/2018    AH                                        0.2        $15.00
                     information. Prepared
                     check request for $168.95-
                     cost of transcript and
                     forwarded to Cassie for
                     processing.
                     Created exhibit. Drafted
1/29/2018    MN                                        1.5       $675.00
                     and revised affidavit.
                     Prepared expense affidavit
1/30/2018    MN                                        0.4       $180.00
                     for Steve.
                     Revisions to Steve's and my
1/31/2018    MN      affidavits and corrections to     0.4       $180.00
                     tmy exhibit
                     Conversation with Robbie
                     Malone re: getting affidavits
2/1/2018     MN      and transcript submitted;         0.5       $225.00
                     her latest hearing with
                     Celetha.
                     Revised my affidavit to
2/2/2018     MN      include the Johnson               1.1       $495.00
                     factors.
                     Final edits and revisions to
2/4/2018     MN                                        0.5       $225.00
                     my affidavit.
                     Finalized all docs for filing.
                     Prepared notices of filing.
                     Tried to find a way to file
2/5/2018     MN      under seal. Conversation          1.6       $720.00
                     with court clerk. Call to
                     Cooper Walker. Revised
                     notices of filing.
2/5/2018     AH      Filing Affidavits under Seal      0.5        $37.50
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 96 of 114




                     Research on the CLG letters
2/15/2018    MN      and possible 4.2 issues.          0.8       $360.00
                     Conversation with Robbie.
                     Follow-up call with Robbie
2/15/2018    MN      re: her conversation with         0.5       $225.00
                     her client.
                     Conversation with Julie and
2/15/2018    MN      Kevin re: contempt order;         0.2    No Charge
                     research from Steve.
                     Call from Robbie Malone re:
2/16/2018    MN                                        0.5      $225.00
                     depositions; MJ consent.
                     Finalized and efiled non-
2/19/2018    MN                                        0.2        $90.00
                     consent to MJ.
                     Prepared RFPs to Plaintiff.
2/19/2018    MN      Conversation with KC              0.5       $225.00
                     regarding same.
2/21/2018    MN      Report to Priscilla May.          0.4       $180.00
                     Drafted and revised letter to
2/26/2018    MN                                        1.5       $675.00
                     Priscilla May.
                     Conversation with Kevin re:
2/26/2018    MN      summary judgment vs.              0.2    No Charge
                     summary disposition.
2/28/2018    MN      Reviewed PRA's discovery.         0.3       $135.00
                     Analysis of the viability of
                     seeking summary judgment
3/1/2018     MN                                        2.8     $1,260.00
                     awarding $0 or nominal
                     damages.
                     Investigation regarding CLG
                     fax numbers. Reviewed WI
3/4/2018     MN                                        1.2       $540.00
                     RPC. Emails to Bob and
                     Julie and to Robbie.
                     Meeting with Kevin re: final
                                                                     No
3/5/2018     MN      pretrial conference and           0.4
                                                                  Charge
                     trial.
                     Call from Cooper in Robbie
                     Malone's office re: their
3/14/2018    MN      prior discovery responses;        0.3       $135.00
                     getting me the specific faxes
                     I need.
                     Review of Ozmun discovery
3/14/2018    MN                                        0.4      $180.00
                     responses
                     Investigate and analyze
3/15/2018    BJS     case law where FDCPA              1.7       $467.50
                     liability was found, but
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 97 of 114




                     damages awarded was
                     $0.00.
                     Preliminary work on MSJ
3/15/2018    MN      on damages. Call to Brit re:      0.6       $270.00
                     research for the brief.
                     Created redacted version of
                     Wood Finko letterhead.
                                                                     No
3/21/2018    MN      Correspondence to Wes             0.2
                                                                  Charge
                     Boyd requesting
                     p[ermission to use it.
                     Analyzed evidence and
                                                                     No
3/21/2018    MN      drafted statement of              2.2
                                                                  Charge
                     undisputed facts.
                     Reviewed responses to our
                     RFPs and the proposed
3/22/2018    MN      protective order. Call to         0.9       $405.00
                     Robbie regarding both and
                     the possible MSJ.
                     Conversation with Bob
3/23/2018    MN      Hornik re: info I need for        0.2        $90.00
                     MSJ.
3/25/2018    MN      Work on MSJ.                      1.8      $810.00
                     Reviewed discovery
3/28/2018    MN      responses. Call to Robbie to      0.4       $180.00
                     discuss.
                     Analyzed and prepared
                     amended witness and
                     exhibit designations and
3/31/2018    MN                                        2.4     $1,080.00
                     document production.
                     Prepared Second Amended
                     Rule 26 disclosures
                     Continued research an
4/1/2018     MN                                        3.9     $1,755.00
                     drafting on MSJ.
                     Call to Bob re: MSJ issues;
                     whether to try to depose
4/2/2018     MN      Celetha and Tyler. Call to        0.9      $405.00
                     Tyler Hickle to try to gather
                     facts.
                     Call to Tyler Hickle re: when
                     he was retained.
4/2/2018     MN                                        0.5       $225.00
                     Assessment of need to
                     depose Celetha.
                     Conversation with Rbbie
4/2/2018     MN                                        0.5       $225.00
                     Malone re: whether to
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 98 of 114




                     depose Celetha; adequacy of
                     existing evidence; division
                     of work on the MSJ.
                     Analysis of the Tejero order.
                     Call to Robbie Malone re:
                     offering not to seek
4/3/2018     MN                                        0.6       $270.00
                     sanctions against Mr.
                     Ozmun if he drops his case.
                     Email to client.
                     Drafted and revised
4/4/2018     MN                                        0.9      $405.00
                     settlement offer.
                     Conference call with Bob,
                     Robbie, and Sunny re:
4/5/2018     MN                                        0.8      $360.00
                     making an offer; moving for
                     summary judgment.
                     Call from Robert Zimmer.
4/5/2018     MN      Report to client regarding        1.3       $585.00
                     the call.
                     Research and drafting to
4/5/2018     MN      complete draft of motion          3.1     $1,395.00
                     and proposed order.
                     Reviewed all of Cooper's
                     changes to the MSJ and
                     made additional changes.
4/17/2018    MN      Drafted and revised               4.3     $1,935.00
                     Javandoost and Sidhu
                     declarations. Finished
                     drafting and revising SOMF.
                     Call to Cooper re:
                     inclusions in brief; what we
                     need to get done to file.
                     Modified SOMF as per our
4/18/2018    MN                                        0.9       $405.00
                     discussion. Modified exhibit
                     table. Call to Clerk.
                     Requested certified copies
                     of the state court records.
                     Call from Cooper walker re:
                     issues related to his client's
4/18/2018    MN                                        0.5       $225.00
                     declaration and the exhibits
                     thereto.
                     Travel to Travis County
                     Courthouse to pick up
4/19/2018    AH      certified copies of Case No       0.5    No Charge
                     C-1-CV-15-002350 -
                     Portfolio v. Ozmun and
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 99 of 114




                     Case No C-1-CV-15-002347
                     - Portfolio v. Ozmun from
                     County Clerk's office per
                     MHN's instructions
                     .
                     Reviewed latest changes
                     from Cooper. Revised SOMF
                     to add additional facts.
                     Revised proposed judgment.
4/19/2018    MN      Reviewed Steve's                  1.6       $720.00
                     declaration and exhibits.
                     Reviewed certified copies
                     from CCL for completeness.
                     Prepared exhibits for filing.
                     Call from Steve Javandoost
4/19/2018    MN      re: his declaration; the          0.8       $360.00
                     MSJ; the hearing on 5/11.
                     Clean-up edits to motion.
4/20/2018    MN      Created, and added                0.5       $225.00
                     references to Exhibit M.
                     Put MSJ in final form to
4/20/2018    MN                                        0.3    No Charge
                     comply with local rules.
                     E-filed the motion and
                     exhibits (including dealing
4/20/2018    MN      with multiple failures to         1.2       $540.00
                     upload due to file sizes on
                     exhibits).
                     Travel to Federal
                     Courthouse to deliver
4/23/2018    AH      Motion for Summary                0.9        $67.50
                     Judgment binder to Judge
                     Sparks per Judge's request
                     Reviewed the exhibit book.
4/23/2018    MN      Made certain that it was          0.3       $135.00
                     correct. Instructions to AH.
                     Analysis of all of the
                     reporting docs from
4/23/2018    MN      Amtrust. Prepared case            2.2       $990.00
                     assessment form and letter
                     to Priscilla May.
                     Call from Robbie re: call she
                     received regarding a motion
4/24/2018    MN      to recuse. calls to Robert        0.7       $315.00
                     Zimmer and Tyler Hickle to
                     see if theyknow anything
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 100 of 114




                     about it. Reached Tyler. He
                     says that he knows


                     Research on recusal.
                     Prepared an evidence folder
4/24/2018     MN     of documents to be used in        0.9       $405.00
                     opposition to any recusal
                     motion.
                     Conversation with Bob
                     Hornik re: hearing strategy;
4/24/2018     MN                                       0.5       $225.00
                     whether to subpoena
                     Michael and Veletha.
                     Conversation with Kevin re:
                     My calls with Robbie and
4/24/2018     MN                                       0.4       $180.00
                     Bob; procedural concerns in
                     a DQ motion is filed.
                     Call from Robbie Malone re:
4/25/2018     MN     recusal/DQ issues; how to         0.6       $270.00
                     respond if a motion is filed.
                     Successive conversations
                     with Dave Schultz; Dara
                     Tarkowski; Katrina
4/25/2018     MN     Christakis; and Nicole            1.1       $495.00
                     Strickler re: any past
                     instances of CLG violating
                     court orders.
                     Call from Robbie. Reviewed
4/26/2018     MN     Exhibit to Motion to recuse.        1       $450.00
                     Calls relating to same.
                     Call from Robbie re: the
                     hearing this morning in
4/26/2018     MN                                       0.3       $135.00
                     Tejera; how it might affect
                     Ozmun.
                     Calls to Bob Hornik and
4/27/2018     MN     Priscilla May to report on        0.8       $360.00
                     status; Tejero situation.
                     Analysis of order from
                     Judge Ezra. Conversation
5/2/2018      MN     with Robbie regarding               1       $450.00
                     possible impact on Ozmun;
                     strategy for next week.
                     Drafted and revised
5/5/2018      MN     response to Motion to             1.7       $765.00
                     Strike.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 101 of 114




                     Drafted and revised reply
                     brief, including research as
5/6/2018      MN     I went to review and              4.3     $1,935.00
                     respond to Plaintiff's
                     arguments.
                     Conversation with Robbie
                     Malone and Cooper Walker
5/7/2018      MN                                       0.4       $180.00
                     re: response to motion to
                     strike; reply brief.
                     Reviewed and revised
5/8/2018      MN                                       0.2         $90.00
                     Cooper's edits to the brief.
                     Finalized both reply brief
                     and response to motion to
5/8/2018      MN                                       0.5       $225.00
                     strike. Prepared proposed
                     order. Exiled all.
                     Resesrch on whether CLG
                     has sought tatutory
5/8/2018      MN                                       0.8       $360.00
                     damages in summary
                     judgment motions.
                     Call to Cooper walker re:
                     yesterday's hearing in tejero
5/9/2018      MN                                       0.4       $180.00
                     and whether/how it could
                     affect Friday's hearing.
                     Drafted and revised
5/9/2018      MN                                       2.2       $990.00
                     argument for MSJ hearing.
                     Reviewed supplemental
5/11/2018     MN     disclosures and witness list      0.2        $90.00
                     from Plaintiff.
                     Review of Motion to Recuse.
                     Analysis of issues and
5/11/2018     MN     impact of U.S. v. Grinnell.       0.9       $405.00
                     Also looked at impact of
                     local rule.
                     Conversation with Kevin re:
5/11/2018     MN     motion to recuse and its          0.3       $135.00
                     impact.
                     Final prep for hearing,
                     modifying arguments to
5/11/2018     MN     account for motion to             1.5       $675.00
                     recuse and new discovery
                     responses.
                     Went to court for hearing.
5/11/2018     MN     Met with Steve after.             1.9       $855.00
                     Returned to office.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 102 of 114




                     Conversation with Robbie
                     Malone re: appropriate
5/16/2018     MN                                       0.4       $180.00
                     steps at this point and
                     division of work.
                     Conversation with Robbie
                     re: scheduling; division of
5/18/2018     MN     briefing and labor for the        0.5       $225.00
                     non-MSJ/motion to strike
                     issues.
                     Prepared motion to reset
5/24/2018     MN                                       0.6     No Charge
                     and proposed order.
                     Conversation with Cooper
                     Walker re: seeking fees for
                     the last hearing; 1927
5/25/2018     MN     motion; motion for                0.2        $90.00
                     contempt for further
                     violations of the scheduling
                     order.
5/30/2018     MN     Work on reports to Priscilla.     0.6       $270.00
                     Reviewed response to
                     morion to reset. Drafted
5/30/2018     MN     reply and proposed email to       0.4       $180.00
                     Amy Clark. Emails to Kevin
                     and Robbie.
                     Finalized reply brief on
5/31/2018     MN                                       0.3     No Charge
                     Motion to reset or Expedite.
                     Prepared multiple reports
                     for Priscilla May as per
5/31/2018     MN                                       2.4     $1,080.00
                     requirements for defense
                     counsel.
                     Call from Amy Clark. Meet
6/1/2018      MN     and confer re: contempt           1.6       $720.00
                     motion; 1927 motion.
                     Drafted and revied
                     proposed email to Amy
6/5/2018      MN                                       0.4       $180.00
                     Clark re: fees and expenses
                     for May 11.
                     Drafted email to Amy Clark
6/5/2018      MN     re: fees and expenses for         0.3       $135.00
                     May 11.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 103 of 114




                     Numerous correspondence
                     with opposing counsel,
                     PRA's counsel, and M.
                     Newburger regarding
                     opposing counsel's
                     threatened writ of
                     mandamus, motion to stay,
6/8/2018      KC     fees from May 11th hearing,       1.1       $385.00
                     and June 21st hearing
                     scheduled on all pending
                     matters; Telephone
                     conversation with B. Hornik
                     regarding same; Telephone
                     call with M. Newburger
                     regarding same.
                     Correspondence with
                     opposing counsel regarding
6/9/2018      KC                                       0.2        $70.00
                     position on threatened
                     motion to stay.
                     Reviewed correspondence
                     from M. Newburger and S.
6/13/2018     KC                                       0.1        $35.00
                     Javandoost regarding May
                     21 hearing on all matters.
                     Reviewed court's order
                     granting in part, denying in
                     part summary judgment;
                     Reviewed court's order
                     converting June 21st
                     hearing on all matters to a
                     telephonic status
6/15/2018     KC                                       0.9       $315.00
                     conference; Multiple
                     correspondence with M.
                     Newburger and B. Hornik
                     regarding same; Matter
                     analysis regarding potential
                     motion in limine topics and
                     jury instruction.
                     Call from Cooper Walker re:
6/15/2018     MN     division of labor on trial        0.5       $225.00
                     prep.
                     Analysis and email to Kevin
6/15/2018     MN                                       0.3       $135.00
                     re: jury issues.
                     Reviewed correspondence
6/17/2018     KC                                       0.2         $70.00
                     from M. Newburger and P.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 104 of 114




                     May regarding trial setting
                     and scheduling order, etc.
                     Correspondence with M.
                     Newburger regarding June
                     21st telephonic status
                     conference with Court;
                     Draft correspondence to
6/18/2018     KC                                       0.2         $70.00
                     opposing counsel regarding
                     providing conference call
                     information for June 21st
                     telephonic status
                     conference with court.
                     Reviewed court notices
                     regarding transcript for May
                     11th hearing being
                     requested; Multiple
                     correspondence with M.
                     Newburger regarding same;
                     Multiple correspondence
                     with M. N ewburger and
                     opposing counsel regarding
                     opposing counsel's duty to
                     provide conference call dial-
6/19/2018     KC     in for court ordered June         0.7       $245.00
                     21st telephonic status
                     conference; Multiple
                     correspondence with B.
                     Hornik and P. May
                     regarding possibly
                          offering $57 during the
                     status conference;
                     Correspondence and
                     telephone conversation with
                     M. Newburger regarding
                     same.
                     Reviewed court notices
                     regarding transcript for May
                     11th hearing being
                     requested; Multiple
                     correspondence with M.
6/19/2018     KC                                       0.7       $245.00
                     Newburger regarding same;
                     Multiple correspondence
                     with M. Newburger and
                     opposing counsel regarding
                     opposing counsel's duty to
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 105 of 114




                     provide conference call dial-
                     in for court ordered June
                     21st telephonic status
                     conference; Multiple
                     correspondence with B.
                     Hornik and P. May
                     regarding possibly offering
                     $57 during the status
                     conference; Correspondence
                     and telephone conversation
                     with M. Newburger
                     regarding same.
                     Review and analysis of
                     Court's most recent
                     summary judgment order
                     for purpose of determining
                     whether Court said or
                     indicated it would disregard
                     Plaintiffs testimony
                     concerning $57; Multiple
                     correspondence with M.
                     Newburger regarding same;
                     Telephone conversation
                     with B. Hornik regarding
                     potential strategy at June
                     21st status conference;
                     Telephone conversation and
                     multiple e-mail
6/20/2018     KC     correspondence with                2.1      $735.00
                     Priscilla May regarding
                     Court's most recent
                     summary judgment order,
                     potential strategy at June
                     21st status conference with
                     the Court, conference call
                     availability, potential trial
                     setting and opposing
                     counsel's last settlement
                     demand; Multiple
                     correspondence with M.
                     Newburger regarding June
                     21st status conference
                     strategy, communications
                     with B. Hornik, and
                     communications with
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 106 of 114




                     Priscilla May regarding
                     proposed strategy, and
                     threatened mandamus and
                     motion to stay by opposing
                     counsel, etc.

                     Correspondence with M.
                     Newburger prior to court-
                     ordered status conference;
                     Participate in court-ordered
                     telephonic status
                     conference with Court, M.
                     Newburger, and opposing
                     counsel; Multiple
                     correspondence with M.
                     Newburger and Priscilla
                     May regarding telephonic
                     status conference, possible
                     attorneys' fees, settlement
                     negotiations to-date,
                     attorneys' fees incurred to-
                     date, possible settlement
                     offer, previous settlement
                     negotiations, budget
6/21/2018     KC                                       2.6       $910.00
                     through jury selection, etc.;
                     Telephone conversation
                     with 8. Hornik regarding
                     telephonic status
                     conference and potential
                     July trial setting; Telephone
                     conversation and e-mail
                     correspondence with PRA's
                     counsel regarding pretrial
                     matters that must be filed
                     by Friday June 29th and
                     potential settlement
                     negotiations, and
                     correspondence with M.
                     Newburger regarding same;
                     Reviewed minute entry
                     entered by Court following
                     status conference
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 107 of 114




                     Telephone conversation
                     with B. Hornik regarding
                     proposed $1000 offer of
                     judgment with fees to be
                     decided by Court; E- mail
                     correspondence to Priscilla
6/22/2018     KC                                       0.6       $210.00
                     May regarding same;
                     Reviewed correspondence
                     from B. Hornik requesting
                     brief summary email; Draft
                     correspondence to M.
                     Newburger regarding same.
                     Email to Bob re: settlement
6/25/2018     MN                                       0.2        $90.00
                     issues.
                     Reviewed correspondence
                     from M. Newburger to B.
                     Hornik regarding proposed
                     offer of judgment;
                     Correspondence with M.
                     Newburger regarding same;
                     Correspondence with
                     Priscilla May at AmTrust
                     regarding conference call
                     availability; Telephone
6/25/2018     KC     conversation with Priscilla       0.8       $280.00
                     May regarding
                     potential$1000 offer of
                     judgment with fees to be
                     decided by Court; Reviewed
                     correspondence from
                     Robbie Malone regarding
                     conference call availability;
                     Reviewed correspondence
                     from Robbie Malone
                     regarding exhibit list.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 108 of 114




                     Correspondence with
                     Robbie Malone regarding
                     conference call availability
                     to discuss draft pretrial
                     materials; Draft
                     correspondence to Cooper
                     Walker regarding draft
                     pretrial materials; Lengthy
                     telephone conversation with
                     Robbie Malone regarding
                     proposed pretrial
                     documents; Reviewed draft
                     witness list, draft exhibit
              KC                                       2.1       $735.00
                     list, draft summary of
                     statement of case, draft
                     voire dire questions, draft
                     jury charge, and draft
                     motion in limine; Multiple
                     correspondence with M.
                     Newburger regarding same;
                     Begin drafting redlines to
                     motion in limine; Reviewed
                     correspondence from B.
                     Hornik regarding making
                     $1000 offer with fees to be
                     decided by court.
                     Call to Kevin re: pretrial
                     filings; settlement; his
6/27/2018     MN                                       0.5       $225.00
                     conversations with Priscilla
                     and Bob.
                     Revised and supplemented
                     all of the pretrial
6/27/2018     MN                                       3.9     $1,755.00
                     documents required by
                     Judge Sparks.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 109 of 114




                     Reviewed multiple
                     correspondence between M.
                     Newburger and B. Hornik
                     regarding making offer to
                     other side; Correspondence
                     with C. Heggie regarding
                     July 21st status conference;
                     Reviewed court's trial
                     setting order, and
                     correspondence from M.
                     Newburger regarding trial
                     setting, trial witnesses, etc.;
                     Reviewed correspondence
                     from B. Hornik regarding
                     trial witnesses; Reviewed
6/27/2018     KC     correspondence from               1.1       $385.00
                     Priscilla May at AmTrust
                     and telephone conversation
                     with Priscilla May regarding
                     making offer to plaintiff;
                     Reviewed correspondence
                     from M. Newburger to
                     Priscilla May regarding
                     same; Correspondence with
                     M. Newburger regarding
                     proposed pretrial materials;
                     Reviewed M. Newburger's
                     redlines to proposed pretrial
                     materials; Correspondence
                     with R. Malone regarding
                     proposed offer to plaintiff.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 110 of 114




                     Review and finalize redlines,
                     edits to witness list, exhibit
                     list, motion in limine,
                     proposed jury charge, voire
                     dire questions, summary of
                     statement to court; Multiple
                     correspondence with PRA's
                     counsel, M.Newburger, B.
                     Hornik and S. Javandoost
                     regarding same; Telephone
                     conversation with Cooper
                     Walker regarding revised
                     pretrial documents; Reviewed
                     revised pretrial documents;
                     Reviewed correspondence
                     from B. Hornik regarding
                     state court process server
                     and documents to possibly
                     include on exhibit list;
                     Review file for purposes of
                     locating state court process
                     server documents,
6/28/2018     KC     declaration and affidavits;       3.4     $1,190.00
                     Telephone conversation with
                     B. Hornik regarding
                     Declaration of Mary Boyle,
                     Affidavits of Substituted
                     Service (x2) by Mary Boyle,
                     and Cost documents from EZ
                     Messenger; Multiple
                     correspondence with B.
                     Hornik, M. Newburger and S.
                     Javandoost regarding same;
                     Multiple separate
                     correspondence with co-
                     counsel, M. Newburger, B.
                     Hornik, and S. Javandoost
                     regarding revised pretrial
                     documents, subpoena on
                     Mary Boyle, etc.;
                     Correspondence with M.
                     Newburger regarding
                     removing dispute letters from
                     exhibit list; Reviewed
                     correspondence from B.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 111 of 114




                     Hornik and M. Newburger
                     regarding co-counsel's
                     revised pretrial exhibits;
                     Draft correspondence to co-
                     counsel authorizing revised
                     pretrial exhibits, making
                     additional edits to the exhibit
                     list, and case cite to the
                     motion in limine; Reviewed
                     correspondence between M.
                     Newburger and opposing
                     counsel regarding offer;
                     Reviewed further
                     correspondence between M.
                     Newburger, B. Hornik and S.
                     Javendoost regarding
                     possible testimony of process
                     server

                     Conversation with Robbie
6/28/2018     MN     Malone re: offer; pretrial         0.3       $135.00
                     docs. Email to Amy Clark
                     Multiple correspondence with
6/29/2018     KC     PRA's counsel regarding            0.4       $140.00
                     filing of pretrial documents.
                     Analysis, research, drafting,
                     and revisions for response
7/2/2018      MN     to Motion to Stay. (Actual        3.4     $1,530.00
                     time = 4/6. Reduce by 1
                     hour.)
                     Long conversation with
                     Robbie re: trial prep; trial;
                     which filings need
7/2/2018      MN                                       1.4       $630.00
                     responses and what they
                     should be; division of labor
                     on responses.
                     Analysis of Plaintiff's
                     pretrial filings and of the
7/2/2018      MN                                       1.2       $540.00
                     matters that need
                     responses.
                     Conversation with Amy
                     Clark re: settlement; limits
7/3/2018      MN                                         1       $450.00
                     on Plaintiff's potential
                     recovery,
  Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 112 of 114




                    Conversation with Priscilla
                    and Bob re: case status;
7/3/2018     MN                                       0.5       $225.00
                    settlement; my call with
                    Amy Clark.
                    Work on objections to the
7/3/2018     MN                                       1.1       $495.00
                    jury charge.
                    Conversation with Priscilla
7/3/2018     MN     may re: case status;              0.7       $315.00
                    billings; settlement.
                    Email memo to Priscilla and
7/5/2018     MN     Bob re: Robbie's tender           0.4       $180.00
                    suggestion.
                    Call from Robbie Malone re:
7/5/2018     MN                                       0.6       $270.00
                    settlement and trial issues.
                    Analysis of response to
7/6/2018     MN     defendabts; motion in             0.4       $180.00
                    limine.
                    Analysis of counteroffer and
                    drafted recommendation to
                    client. Sent
7/6/2018     MN     recommendation after              0.3       $135.00
                    talking to Robbie Malone to
                    confirm her client's
                    position.
                    Call from Robbie Malone re:
                    Mattson. Analysis of her
7/6/2018     MN                                       0.3       $135.00
                    position and response to
                    her via email.
                    Call to Clerk to determine
                    process for tendering into
7/6/2018     MN                                       1.5       $675.00
                    the registry. Drafted and
                    revised motion and order.
                    Conversation with Robbie
                    Malone re: Ozmun; emails
7/9/2018     MN                                       0.7       $315.00
                    from Amy 8during the call)
                    and the responses thereto.
                    Call to Robbie re: response
7/9/2018     MN     to the offer; motion to           0.3       $135.00
                    tender.
                    Drafted and revised
                    objections to plaintiff's jury
7/9/2018     MN                                       2.2       $990.00
                    instructions and verdict
                    sheets.
                    Revisions and additions to
7/9/2018     MN                                       1.6       $720.00
                    objections to plaintiff's
  Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 113 of 114




                    motions in limine and to
                    plaintiff's witness and
                    exhibit lists.
                    Call from Steve Javandoost.
                    Went over facts and case
7/9/2018     MN                                       1.3       $585.00
                    history in preparation for
                    his trial testimony.
                    Call to Bob re: extending
                    the offer; trial issues;
7/9/2018     MN                                       0.5       $225.00
                    discovery issues in the
                    plaintiff's responses.
                    Drafted response to Amy
                    Clark re: notice of
7/10/2018    MN                                       0.2        $90.00
                    settlement. Email to Bob
                    and Priscilla

7/10/2018    MN     Call with Bob and Priscilla.      0.4       $180.00
                    Call from Amy Clark.
                    Conferenced in Robbie.
7/10/2018    MN                                       0.3       $135.00
                    continued discussion with
                    Robbie after Amy dropped.
                    Drafted letter to Amy Clark;
7/10/2018    MN                                       0.5       $225.00
                    motion to dismiss; order.
                    Travel to Amy Clark to
                    Hand-Deliver Manny's
7/10/2018    AH                                         1        $75.00
                    letter, unopposed motion to
                    dismiss & check.
                    Discussion with Robbie
                    Malone re: responding
7/10/2018    MN                                       0.4       $180.00
                    to/accepting settlement
                    offer from Amy Clark.
                    Obtained cashier's check
7/10/2018    MN                                       0.5       $225.00
                    from bank.
                    Call from Amy Clark re:
7/10/2018    MN                                       0.6       $270.00
                    notice vs. dismissal.
                    Continued analysis of
7/11/2018    MN     settlement notice. Drafted        0.3       $135.00
                    suggested revision.
                    Preliminary work on Motion
                    for fees. Drafted and revised
7/11/2018    MN     statement of facts and trail      2.3     $1,035.00
                    of bad faith. Preliminary
                    drafting on legal standards.
   Case 1:16-cv-00940-SS Document 151-1 Filed 08/23/18 Page 114 of 114




                       Conversation with Cooper
                       Walker re: fee application;
7/11/2018       MN                                        0.8      $360.00
                       fee opposition; briefing
                       jointly; division of labor.
                       Continued work on motion
7/12/2018       MN                                        0.9      $405.00
                       for fees.
                       Preliminary work on
7/16/2018       MN     affidavit exhibits for fee         0.5      $225.00
                       app.
                       Conference call with Judge
8/9/2018        MN                                        0.3      $135.00
                       Sparks re: dismissal.
                       Call with Robbie after the
                       status conference re: fee
8/9/2018        MN     application; whether to            0.5      $225.00
                       request an evidentiary
                       hearing.
                       Continued work on my
8/16/2018       MN     affidavit in support of the        1.7      $765.00
                       motion for sanctions.
                       Drafted and revised affidavit
8/20/2018       MN     in support of motion for           5.2    $2,340.00
                       fees.
       TOTALS                                          284.53   $117,701.00

                                EXPENSES
Date            Description                                         Charge
                Esquire deposition invoice for the
12/6/2017       deposition of Joseph Ozmun                        $1,199.00
                Airline change fees to be able to
1/15/2018       attend hearing on 1/23.                            $267.00
1/25/2018       Transcript                                         $168.95
5/11/2018       Lyft fare to courthouse.                            $15.25
                Lyft fare from Federal Courthouse to
5/11/2018       office.                                             $15.79
     TOTAL                                                       $1,665.99
